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                EXHIBIT 1
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               FIRST AMENDED JOINT STIPULATION OF SETTLEMENT

I.     RECITALS

       A.      This Joint Stipulation of Settlement (“Agreement”) is made and entered into by and

among Plaintiffs Tanya Mayhew (“Mayhew”), Tanveer Alibhai (“Alibhai”) and Tara Festa

(“Festa”) (collectively, “Plaintiffs”), individually and on behalf of the Settlement Class (defined

below), by and through Class Counsel, and Defendant KAS Direct LLC (“KAS”) and Defendant

S.C. Johnson & Son, Inc. (“S.C. Johnson”), (together “Defendants”) (together with Plaintiffs, the

“Parties”), by and through their counsel of record in this Litigation, and resolves in full the Action.

Capitalized terms used herein are defined in Section II of this Agreement or indicated in

parentheses elsewhere in this Agreement. Subject to Court approval as required by the applicable

Federal Rules of Civil Procedure, and as provided herein, Plaintiffs and Defendant (“the Parties”)

hereby stipulate and agree that, in consideration for the promises and covenants set forth in the

Agreement and upon the entry by the Court of a Final Judgment and Order Finally Approving

Settlement and the occurrence of the Effective Date, the Action shall be settled and compromised

upon the terms and conditions contained herein.

       B.      WHEREAS, on November 20, 2015 and January 26, 2016, Plaintiffs submitted

demand letters to KAS and its attorneys in accordance with the California Consumer Legal

Remedies Act, California Civil Code § 1750.

       C.      WHEREAS, on September 7, 2016, Plaintiffs filed a Complaint against Defendant

in the United States District Court for the Southern District of New York.

       D.      WHEREAS, on August 3, 2017, Plaintiffs filed an Amended Complaint.

       E.      WHEREAS, in the Amended Complaint, Plaintiffs allege Defendants marketed

their Babyganics line of home and personal care products (the “Products”) (1) with the brand name

“Babyganics,” (2) in the case of certain sunscreens (the “Sunscreen Products”), with the term
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“Mineral-Based,” and (3) with the term “Neonourish Natural Seed Oil.” Plaintiffs further allege

that Defendants’ marketing of the Products was misleading and caused Plaintiffs to pay a price

premium for the Products. The Complaint asserts causes of action on behalf of a nationwide class

of purchasers and in the alternative, subclasses of purchasers, for: (1) violation of New York

General Business Law §§ 349 and 350; (2) violation of California law, including, but not limited

to, California Civil Code §§ 1750 et seq., California Business & Professions Code §§ 17200 et

seq., and California Business & Professions Code §§ 17500 et seq.; and (3) common-law unjust

enrichment. The Complaint seeks monetary and injunctive relief. Class Counsel conducted

separate examinations and evaluations of the relevant law and facts to assess the merits of

Plaintiffs’ claims and to determine how to best serve the interests of the members of the putative

class.

         F.    WHEREAS, on March 15, 2017, Class Counsel, on behalf of their clients, entered

into a Stipulation and Protective Order / Confidentiality Agreement with Defendants, pursuant to

which, and for the purpose of settlement discussions only, Defendants agreed to produce certain

sales and marketing information that would enable Class Counsel and their clients to better

evaluate their position with respect to settlement.

         G.    WHEREAS, on August 10, 2016, Class Counsel, KAS, and KAS’s Counsel

participated in a mediation conducted by David A. Rotman of Gregorio, Haldeman & Rotman of

San Francisco, California, and on March 30, 2017, Class Counsel, Defendants and Defendants’

Counsel participated in a mediation conducted by Michael Young of JAMS in New York, New

York. Before, during, and since the mediation, the Parties have engaged in protracted, extensive,

and hard-fought settlement negotiations, including numerous telephonic negotiating sessions.




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Some of the parties’ post-mediation negotiations were assisted by Mr. Young; others were

conducted independently.

       H.      WHEREAS, on May 31, 2017, the Parties reached a settlement in principle. For

nearly eight weeks thereafter, the Parties continued to negotiate the terms of this settlement.

       I.      WHEREAS, on March 17, 2017, Proposed Intervenor, David Machlan, filed a

Complaint against Defendants KAS Direct, LLC and S.C. Johnson & Son, Inc., in the Superior

Court of California, County of San Francisco and the case was then removed to the North District

of California in the United States District Court on April 28, 2017 (Machlan v. S. C. Johnson &

Son, Inc., et al., Case No. 3:17-cv-02442 N.D. Cal.);

       J.      WHEREAS, on June 2, 2017, Proposed Intervenors, Tarina Skeen, Cheyenne

Blanusa, Malissa Brown, Natalie Vidal, and Christina Timmermeier (“Tear Free Intervenors”),

filed a Complaint against Defendant KAS Direct, LLC, in the United States District Court for the

Southern District of New York (Skeen, et al. v. KAS Direct, LLC d/b/a Babyganics, Case No. 1:17-

cv-04119-RJS S.D.N.Y);

       K.      WHEREAS, on June 5, 2017, this Court entered its initial order with the briefing

schedule for preliminary approval of this Settlement (Dkt. No. 31);

       L.      WHEREAS, on August 8, 2017, the Parties filed for Preliminary Approval of the

Joint Stipulation of Settlement in this Court. The Settlement was a product of hard-fought, arm’s-

length negotiations.

       M.      WHEREAS, on August 10, 2017, Proposed Intervenors, Laura Carroll, Katherine

Exo, Armand Ryden, and Katharine Shaffer (“SPF Intervenors”), filed a Complaint against

Defendants S.C. Johnson & Son, Inc. and VMG Partners, LLC, in the United States District Court




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for the Northern District of Illinois (Carroll, et al. v. S. C. Johnson & Son, Inc., et al., Case No.

1:17-cv-5828 N.D. Ill.)

       N.        WHEREAS, the following Motions to Intervene were filed by the above-referenced

Proposed Intervenors on the following dates:

                 1.     On August 11, 2017, Tear Free Intervenors filed a Motion to Intervene

(Dkt. No. 50);

                 2.     On August 18, 2017, Proposed Intervenor Machlan filed a Motion to

Intervene (Dkt. No. 52); and

                 3.     On August 25, 2017, SPF Intervenors filed a Motion to Intervene (Dkt. No.

56).

       O.        WHEREAS, on October 5, 2017, the Parties participated in a continued mediation

with Mr. Young, at which all intervenors were invited to participate.

       P.        WHEREAS, on October 10, 2017, Proposed Intervenor Machlan withdrew his

Motion to Intervene (Dkt. No. 85), and filed a Notice of Voluntary Dismissal with Prejudice in

Machlan v. S. C. Johnson & Son, Inc., et al., Case No. 3:17-cv-02442 N.D. Cal.

       Q.        WHEREAS, counsel for all Parties have reached the resolution set forth in this

Agreement, providing for, among other things, the settlement of the Action between and among

Plaintiffs, on behalf of themselves and the Settlement Class, and Defendants on the terms and

subject to the conditions set forth below.

       R.        WHEREAS, Class Counsel have determined that a settlement of the Action on the

terms reflected in this Agreement is fair, reasonable, adequate, and in the best interests of Plaintiffs

and the Settlement Class.




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        S.      WHEREAS, based upon Class Counsel’s investigation and evaluation of the facts

and law relating to the matters alleged in the pleadings, Plaintiffs and Class Counsel agreed to

settle the Litigation pursuant to the provisions of this Stipulation after considering, among other

things: (1) the substantial benefits available to the putative class under the terms of this Stipulation;

(2) the attendant risks and uncertainty of litigation, especially in complex actions such as this, as

well as the difficulties and delays inherent in such litigation; and (3) the desirability of

consummating this Agreement promptly to provide effective relief to Plaintiffs and the putative

class and to end the alleged conduct at issue.

        T.      WHEREAS, Defendants have denied and continue to deny each and all of the

claims and contentions alleged by Plaintiffs in the Complaint. Defendants have expressly denied

and continue to deny all charges of wrongdoing or liability against it arising out of or relating to

any of the conduct, statements, acts, or omissions alleged, or that could have been alleged, in the

Litigation. Defendants believe they have meritorious defenses to all of Plaintiffs’ claims, and that

Plaintiffs will be unable to certify nationwide or subclasses relating to the challenged marketing

of the Products.

        U.      WHEREAS, Defendants, to avoid the costs, disruption, and distraction of further

litigation, and without admitting the truth of any allegations made in the Action, or any liability

with respect thereto, have concluded that it is desirable that the claims against it be settled and

dismissed on the terms reflected in this Agreement.

        V.      NOW, THEREFORE, this Agreement is entered into by and among the Parties, by

and through their respective counsel and representatives, and in consideration of the mutual

promises, covenants, and agreements contained herein and for value received, the Parties agree

that: (1) upon the Effective Date, the Action and all Released Claims shall be settled and




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compromised as between Plaintiffs and the Settlement Class on the one hand, and Defendants on

the other hand; and (2) upon final approval of the Agreement, the Final Judgment and Order

Approving Settlement shall be entered dismissing the Action with prejudice and releasing all

Released Claims against the Released Parties.

II.    DEFINITIONS

       A.      As used in this Agreement and the attached exhibits (which are an integral part of

the Agreement and are incorporated in their entirety by reference), the following terms shall have

the meanings set forth below, unless this Agreement specifically provides otherwise:

               1.      “Action” means the lawsuit captioned Mayhew, et. al v. KAS Direct, LLC,

Case No. 7:16-cv-06981-VB, pending in the United States District Court for the Southern District

of New York.

               2.      “Advertising” means all acts and practices calling public attention to the

Products, including, but not limited to, marketing materials, billboards, point of sale materials,

online posts, websites, and Facebook and Twitter accounts used by Defendants to promote the

Products.

               3.      “Agreement” means this Joint Stipulation of Settlement (including all

exhibits attached hereto).

               4.      “Attorneys’ Fees and Expenses” means such attorneys’ fees and expenses

as may be awarded by the Court based on this Agreement to compensate Class Counsel and all

other Plaintiffs’ Counsel as agreed upon by the Parties (subject to Court approval), as described

more particularly in Section VIII of this Agreement.

               5.      “Authorized Claimant(s)” means any Settlement Class Member who

submits a valid Claim Form.




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               6.       “Award” means the relief obtained by Settlement Class Members pursuant

to Section IV of this Agreement.

               7.       “Claim” means a request for relief submitted by a Settlement Class Member

on a Claim Form to the Settlement Administrator in accordance with the terms of the Agreement.

               8.       “Claim Form” means the form to be used by a Settlement Class Member to

submit a Claim to the Settlement Administrator. The proposed Claim Form is subject to Court

approval and attached hereto as Exhibit A.

               9.       “Claims Deadline” means the date by which all Claim Forms must be

postmarked or submitted online to the Settlement Administrator to be considered timely. The

Claims Deadline shall be stated in the Class Notice, on the Settlement Website, and in the Claim

Form, and shall be no later than ninety (90) days from the date of the first publication of the Long-

form Notice or Short-form Notice, whether online, via print publication, or via press release,

whichever is earlier.

               10.      “Claim Period” means the time period during which Settlement Class

Members may submit a Claim Form to the Settlement Administrator for review. The Claim Period

shall run for a period of time ordered by the Court, and last at least ninety (90) calendar days from

the date of the first publication of the Long-form Notice or Short-form Notice, whether online, via

print publication, or via press release, whichever is earlier.

               11.      “Class Counsel” means the following law firms and individuals:

                        Melissa S. Weiner
                        Halunen Law
                        1650 Ids Center, 80 So. 8th Street
                        Minneapolis, MN 55402
                        (612) 605-4098




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                       Charles Joseph LaDuca
                       Katherine Van Dyck
                       Cuneo Gilbert & LaDuca, LLP
                       4725 Wisconsin Avenue NW, Suite 200
                       Washington, DC 20016
                       (202) 789-3960

                       Jason P. Sultzer
                       The Sultzer Law Group PC
                       77 Water Street, 8th Floor
                       New York, NY 10005
                       (646) 722-4266

               12.     “Class Notice” or “Notice” means the forms of notice to be disseminated to

Settlement Class Members informing them about the Settlement Agreement. A copy of the

proposed Long-form Notice is attached as Exhibit B, and a copy of the proposed Short-form Notice

is attached as Exhibit C.

               13.     “Class Period” means the period beginning on (and including) September

7, 2010 and ending on (and including) the date the Court enters the Preliminary Approval Order.

               14.     “Class Representatives” or “Plaintiffs” means Tanya Mayhew, Tanveer

Alibhai, and Tara Festa.

               15.     “Court” means the United States District Court for the Southern District of

New York, in which the Action was filed and where the Parties will seek approval of the

Settlement.

               16.     “Covered Product(s)” means any Babyganics product, regardless of product

line, scent, and/or unit size, marketed and sold by Defendants in the United States.

               17.     “Defendants” means KAS Direct LLC (d/b/a Babyganics) and S.C. Johnson

& Son, Inc.




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               18.     “Effective Date” means the date on which all of the conditions of settlement

have been satisfied.

               19.     OR “Effective Date” means:

                      (a)    if no appeal is taken from the Order and Final Judgment, thirty-five
               (35) days after the Court enters the Order and Final Judgment of this Class
               Settlement Agreement; or

                       (b)     if an appeal is taken from the Order and Final Judgment, the date on
               which all appellate rights (including petitions for rehearing or re-argument,
               petitions for rehearing en banc, petitions for certiorari or any other form of review,
               and proceedings in the United States Supreme Court or any other appellate court)
               have expired, been exhausted, or been finally disposed of in a manner that affirms
               the Order and Final Judgment.

               20.     “Eligible Claims” means claims submitted by Authorized Claimants against

the Settlement Fund.

               21.     “Final Approval Hearing” means the hearing to be conducted by the Court

on such date as the Court may order to determine the fairness, adequacy, and reasonableness of

the Agreement.

               22.     “Final Judgment and Order Approving Settlement” means the order to be

entered by the Court (which will be agreed upon by the Parties and submitted prior to the Final

Approval Hearing) approving the Settlement as fair, adequate, and reasonable, confirming the

certification of the Settlement Class, and issuing such other findings and determinations as the

Court and/or the Parties deem necessary and appropriate to implement the Settlement Agreement.

               23.     “Household” means a residence in which one or more Class Members may

reside. Class Members may be part of only one Household for purposes of submitting a Claim.

               24.     “Initial Claim Amount” means the amount a Settlement Class Member

claims on a Claim Form that is timely, valid, and approved by the Settlement Administrator. The

value basis of the Initial Claim Amount is described in Section IV.B of this Stipulation. Pursuant



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to Section IV.B.2 of this stipulation, the Initial Claim Amount is subject to pro rata increase or

decrease, depending on the value of all approved Claims submitted.

               25.     “Motion for Preliminary Approval of Settlement” means the motion, to be

filed by Plaintiffs and not opposed by Defendant, for Preliminary Approval of this Agreement.

               26.     “Notice and Claim Administration Expenses” means all costs and expenses

incurred by the Settlement Administrator, including all notice expenses, the cost of administering

the notice program, and the costs of processing all Claims made by Settlement Class Members.

These costs and expenses shall be paid out of the Settlement Fund.

               27.     “Objection Date” means the date by which Settlement Class Members must

file and serve objections to the Settlement and shall be no later than 30 days before the date first

set for the Final Approval Hearing or as required by applicable law.

               28.     “Opt-Out Date” means the postmark date by which a Request for Exclusion

must be submitted to the Settlement Administrator in order for a Settlement Class Member to be

excluded from the Settlement Class and shall be no later than 30 days before the date first set for

the Final Approval Hearing.

               29.     “Plaintiffs’ Counsel” means Melissa S. Weiner of Halunen Law; Charles

Joseph LaDuca and Katherine Van Dyck of Cuneo Gilbert & LaDuca, LLP.; and Jason P. Sultzer

of The Sultzer Law Group PC.

               30.     “Preliminary Approval Order” means the order to be entered by the Court,

substantially in the form of Exhibit D, preliminarily approving the Settlement, certifying the

Settlement Class, setting the date of the Final Approval Hearing, approving the Notice Program,

Class Notice, and Claim Form, and setting the Opt-Out Date, Objection Date, and Notice Date.




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               31.     “Proof of Purchase” shall mean a valid receipt or other document reflecting

a purchase of a specific Covered Product during the Class Period.

               32.     “Released Claims” means, with the exception of claims for personal injury,

any and all suits, actions, claims, liens, demands, actions, causes of action, obligations, rights,

damages, or liabilities of any nature whatsoever, contingent or absolute, matured or unmatured,

including Unknown Claims (as defined below), whether arising under any international, federal,

state, or local statute, ordinance, common law, regulation, principle of equity or otherwise, that

actually were, or could have been, asserted in the Litigation, including, but not limited to, claims

which are based on any assertion or contention that the packaging of Covered Products, including

the labels, or Advertising based on the content of those labels were inaccurate, misleading, false,

deceptive or fraudulent. Released Claims include claims or potential claims arising from any

purchases of the Covered Products from September 7, 2010 to the date of the Court’s preliminary

approval. Released claims also specifically include the claims raised in the lawsuits captioned

Machlan v. S.C. Johnson, Inc., Case No. CGC-17-557613 (Sup. Ct. CA), later removed on April

28, 2017 to the District Court of the Northern District of California, No. 3:17-cv-02442,

concerning a subset of the Covered Products (certain Babyganics pre-moistened wipes with

“plant”-related labeling); Skeen v. KAS Direct, LLC, d/b/a/ Babyganics, No. 1:17-cv-04119

(S.D.N.Y.) concerning a subset of the Covered Products (certain Babyganics products with “tear-

free”-related labeling); and Carroll v. S. C. Johnson & Son, Inc., Case No. 1:17-cv-5828, (N.D.

Ill.) concerning a subset of the Covered Products (certain Babyganics and mineral-based sunscreen

products with SPF 50+ labeling). Settlement Class Members can opt out of the Settlement on or

before the Opt-Out Date.




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               33.    “Released Persons” means and includes Defendants and their direct and

indirect corporate parents, subsidiaries and affiliates, divisions, as well as its distributors,

wholesalers, retailers, suppliers, customers and licensors, including the officers, directors,

employees, shareholders, principals, agents, successors, insurers, attorneys, spokespersons, public

relations firms, advertising and production agencies, and assigns of all such Persons.

               34.    “Request(s) for Exclusion” means the written communication that must be

submitted to the Settlement Administrator and postmarked on or before the Opt-Out Date by a

Settlement Class Member who wishes to be excluded from the Settlement Class.

               35.    “Residual Settlement Amount” means the funds remaining in the Settlement

Fund after the payment of all Eligible Claims and escrow charges and any taxes related to the

Settlement Fund.

               36.    “Service Award(s)” means the payment, subject to Court approval, of

$3,500 each to Plaintiffs Tanya Mayhew, Tanveer Alibhai, and Tara Festa.

               37.    “Settlement Administrator” means Angeion Group, LLC, which has been

retained by the Parties and, subject to approval by the Court, shall design and implement the

program for disseminating Notice to the Class, administer the claims portion of this Settlement,

and perform overall administrative functions. The Settlement Administrator has agreed, as a

condition of being retained in this matter, to cap all Notice and Claim Administration Expenses to

$416,475.50.

               38.    “Settlement Class” means all persons or entities in the United States who

made retail purchases of Covered Products during the Settlement Class Period. Specifically

excluded from the Settlement Class are: (a) Defendants’ employees, officers, directors, agents,

and representatives; (b) those who purchased Covered Products for the purpose of re-sale; (c)




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federal judges who have presided over this case; and (d) all Persons who have been properly

excluded from the Settlement Class.

                 39.   “Settlement Class Member(s)” or “Member(s) of the Settlement Class”

means a member of the Settlement Class.

                 40.   “Settlement Fund” means the amount of $2,215,000 to be funded by

Defendants and from which all Eligible Claims, Attorneys’ Fees and Expenses, Notice and Claim

Administration Expenses, and Service Awards are to be paid.

                 41.   “Settlement Website” means the website to be created for this settlement

that will include information about the Litigation and the settlement, relevant documents, and

electronic and printable forms relating to the settlement, including the Claim Form which can be

submitted online or printed and mailed. The Settlement Website shall be activated no later than

ten (10) days after the Preliminary Approval Order is entered and shall remain active until 101

days after the Court enters the Judgment. A link to the Settlement Website shall also be available

on the websites Defendants maintain for United States consumers of Babyganics Products during

the same time period and, at Class Counsel’s option, on Class Counsel’s websites.

                 42.   “Stipulation” means this Stipulation of Settlement, including its attached

exhibits (which are incorporated herein by reference), duly executed by Class Counsel and counsel

for Defendant.

                 43.   “Unknown Claims” means any and all Released Claims that a Settlement

Class Member does not know to exist against any of the Released Parties which, if known, might

have affected his or her decision to enter into or to be bound by the terms of this Stipulation. The

Plaintiffs and the Settlement Class Members acknowledge that they may hereafter discover facts

in addition to or different from those that they now know or believe to be true concerning the




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subject matter of this Stipulation, but nevertheless fully, finally, and forever settle and release any

and all Released Claims, known or unknown, suspected or unsuspected, contingent or non-

contingent, which now exist, may hereafter exist, or heretofore have existed which relate in any

way to any assertion or contention that the packaging of Babyganics Products, including the labels

or Advertising based on the content of those labels were inaccurate, misleading, false, deceptive,

or fraudulent, without regard to subsequent discovery or existence of such different or additional

facts concerning each of the Released Parties. The foregoing waiver includes, without limitation,

an express waiver to the fullest extent permitted by law, by the Plaintiffs and the Settlement Class

Members of any and all rights under California Civil Code § 1542 [set forth in bold infra] and any

statute, rule, and legal doctrine similar, comparable, or equivalent to California Civil Code § 1542.

       B.      Other capitalized terms in this Agreement but not defined in Section II.A shall have

the meanings ascribed to them elsewhere in this Agreement.

III.   CERTIFICATION OF THE SETTLEMENT CLASS AND DISMISSAL OF
       ACTION

       A.      Certification of the Settlement Class

               1.      Defendants hereby consent, solely for purposes of the settlement set forth

herein, to (1) the certification of the Settlement Class on a nationwide basis, (2) to the appointment

of Class Counsel as counsel for the Settlement Class, and (3) to the conditional approval of

Plaintiffs as adequate representatives of the Settlement Class. However, if this Agreement, as

drafted, fails to receive Court approval or otherwise fails to be consummated, including, but not

limited to, the Judgment not becoming final as provided in Section IX of this Agreement, or a

change to the scope of the release as provided in Section VII, then Defendants retain all rights they

had immediately preceding the execution of this Agreement. Defendants’ retained rights include

the right to object to the maintenance of this Litigation as a class action by Class Counsel. In that



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event, nothing in this Agreement or other papers or proceedings related to the settlement shall be

used as evidence or argument by any Party concerning whether the Litigation may properly be

maintained as a class action, whether the allegations in the Amended Complaint have any merit,

whether the purported class is ascertainable, or whether Class Counsel or the Plaintiffs can

adequately represent the Settlement Class Members under applicable law.

       B.      Dismissal of Action

       Upon final approval of the Settlement by the Court, the Final Judgment and Order

Approving Settlement will be entered by the Court, providing for the dismissal of the Action with

prejudice.

IV.    SETTLEMENT RELIEF

       A.      Settlement Fund and Cash Payments

               1.     Defendants shall establish the Settlement Fund in the amount of $2,215,000

by depositing with the Settlement Administrator this amount in an account no later than ten (10)

court days after the Effective Date. Timing of payment of Attorneys’ Fees and Expenses is

governed by Section VIII.B.1. Until such time as these funds have been deposited with the

Settlement Administrator, Defendants shall be responsible for payment of any costs of

administration, with any such amounts paid to be deducted from the $2,215,000 deposited with

the Settlement Administrator.

               2.     The Settlement Fund will at all times be deemed a “qualified settlement

fund” within the meaning of United States Treasury Reg. § 1.468B-1. All taxes (including any

estimated taxes, and any interest or penalties relating to them) arising with respect to the income

earned by the Settlement Fund or otherwise, including any taxes or tax detriments that may be

imposed upon Defendants or their counsel with respect to income earned by the Settlement Fund

for any period during which the Settlement Fund does not qualify as a “qualified settlement fund”


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for the purpose of federal or state income taxes or otherwise (collectively “Taxes”), will be paid

out of the Settlement Fund. Defendants and their counsel, and Plaintiffs and Class Counsel, will

have no liability or responsibility for any of the Taxes. The Settlement Fund will indemnify and

hold Defendants and their counsel, and Plaintiffs and Class Counsel, harmless for all Taxes

(including, without limitation, Taxes payable by reason of any such indemnification).

       B.      Settlement Class Members’ Cash Recovery

               1.      Settlement Class Members shall be entitled to a cash refund in the amount

of one hundred percent (100%) of any purchase of a Covered Product for which a Proof of

Purchase during the Class Period is provided.

               2.      If a Class Member does not have Proof of Purchase, the Class Member is

entitled to recover for up to eight (8) Eligible Product purchases during the Class Period. On the

Claim Form, a Class Member must select the Eligible Products purchased and the number of

Eligible Products purchased during the Class Period. The Initial Claim Amount depends on the

number and type of Eligible Products purchased as described below, and is subject to pro rata

upward or downward adjustment as described in Section IV.C. The Settlement Administrator will

be provided a list of Eligible Products and the value of the Eligible Products based upon the MSRP.

For the purposes of this Agreement, the parties agree that, if litigation continued, the damages

available to Plaintiffs, if any, would be based in part on a “price premium” theory, whereby

Plaintiffs would have attempted to recover the premium paid for the Eligible Products due to the

complained-of labeling as opposed to the price paid without the complained-of labeling.

                       (a) Subject to pro rata upward or downward adjustment pursuant to Section

IV.C, a Class Member who purchased an Eligible Product that is valued between $1.99 and $9.99

will receive $5.00 per Eligible Product in that range.




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                      (b) Subject to pro rata upward or downward adjustment pursuant to Section

IV.C, a Class Member who purchased an Eligible Product that is valued between $10.00 and

$19.99 will receive $10.00 per Eligible Product in that range.

                      (c) Subject to pro rata upward or downward adjustment pursuant to Section

IV.C, a Class Member who purchased an Eligible Product that is valued between $20.00 and

$29.99 will receive $15.00 per Eligible Product in that range.

                      (d) Subject to pro rata upward or downward adjustment pursuant to Section

IV.C, a Class Member who purchased an Eligible Product that is valued between $30.00 and

$39.99 will receive $20.00 per Eligible Product in that range.

                      (e) Subject to pro rata upward or downward adjustment pursuant to Section

IV.C, a Class Member who purchased an Eligible Product that is valued over $40.00 will receive

$25.00 per Eligible Product in that range.

       C.             Disbursements from the Settlement Fund

               1.     In accordance with the payment schedule set forth in this Agreement,

money from the Settlement Fund shall be applied as follows:

                      a.      First, to pay the Notice and Claims Administration Expenses and the

Attorneys’ Fees and Expenses and Service Awards, all as approved by the Court; and

                      c.      Next, to pay Eligible Claims.

The money remaining in the Settlement Fund after the Notice and Claims Administration

Expenses, Attorneys’ Fees and Expenses, and Service Awards is the “Net Settlement Fund.”

               2.     If the total amount of the timely, valid, and approved Eligible Claims

submitted by Settlement Class Members exceeds the available relief, considering any fees,

payments, and costs set forth in this Agreement that must also be paid from the Settlement Fund,

each eligible Settlement Class Member’s Initial Claim Amount shall be proportionately reduced


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on a pro rata basis, such that the aggregate value of the cash payments does not exceed the

Settlement Fund balance.

               3.     If, after the payment of all valid Claims, Notice and Administration

Expenses, Attorneys’ Fees and Expenses, Service Awards, and any other claim, cost, or fee

specified by this Agreement, value remains in the Settlement Fund, it shall be called the Residual

Settlement Amount.

               4.     The Residual Settlement Amount shall be used to increase eligible

Settlement Class Members’ relief on a pro rata basis. The Settlement Administrator shall

determine each authorized Settlement Class Member’s pro rata share based upon each Settlement

Class Member’s Claim Form and the total number of valid Claims. Pro Rata distributions from

the Residual Settlement Amount shall first be paid to Class Members with a valid proof of

purchase, up to 100% value in total of their Claim. If any Residual Settlement Amount remains

after that distribution, the remainder will be distributed on a pro rata basis to Class Members

without a Proof of Purchase, up to up to 100% value in total of their Claim. Accordingly, the

actual amount recovered by each Settlement Class Member will not be determined until after the

Claim Period has ended and all Claims have been calculated.

               5.     It is the Parties intent to distribute all Settlement Funds to Class Members.

However, if there are any funds remaining in the Settlement Fund Balance following the

calculation pursuant to the above Sections IV.B or IV.C above, including any checks that were not

cashed, then the Settlement Administrator shall distribute the Residual Funds to the following non-

profit organization: National Consumer Law Center. An affidavit from National Consumer Law

Center is attached as Exhibits E. The Residual Funds will not be returned to Defendants.

Defendants represent and warrant that any payment of Residual Funds to any charities, non-profit




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organizations, or government entities shall not reduce any of their donations or contributions to

any entity, charity, charitable foundation or trust, and/or non-profit organization.

                 6.    To receive Settlement relief, each Settlement Class Member must submit a

valid and timely Claim Form either by mail or electronically. The actual amount paid to individual

Settlement Class Members will depend upon the number of valid Claims made for Covered

Products purchased and a representation made under the penalty of perjury that the purchase(s)

occurred in the United States during the Class Period.

                 7.    For claims without Proof of Purchase, each Settlement Class Member

submitting a Claim Form shall sign (either by hand or electronic signature if the claim is submitted

online) and submit a Claim Form that states, to the best of his or her knowledge, the total number

and type of Covered Products that he or she purchased and the approximate date(s) of his or her

purchases. The Claim Form shall be signed under an affirmation stating the following or

substantially similar language: “I declare, under penalty of perjury, that the information in the

Claim Form is true and correct to the best of my knowledge, and that I purchased the Covered

Product(s) claimed above in the United States during the Class Period for personal or household

use and not for resale. I understand that my Claim Form may be subject to audit, verification, and

Court review.”

                 8.    The Claim Form shall advise Settlement Class Members that, while Proof

of Purchase is not required to submit a claim, the Settlement Administrator has the right to request

verification or more information regarding the purchase of the Covered Products for the purpose

of preventing fraud. If the Settlement Administrator requests such verification and the Settlement

Class Member does not comply in a timely manner or is unable to produce documents or additional




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information to substantiate the information on the Claim Form and the claim is otherwise not

approved, the Settlement Administrator may disqualify the claim.

               9.      Claim Forms that do not meet the requirements set forth in this Settlement

and in the Claim Form instructions may be rejected. The Settlement Administrator will determine

a Claim Form’s validity. Where a good-faith basis exists, the Settlement Administrator may reject

a Claim Form for, among other reasons: (i) failure to attest to the purchase of the Covered

Products; (ii) failure to provide adequate verification or additional information about the Claim

pursuant to a request of the Settlement Administrator; (iii) failure to fully complete and/or sign the

Claim Form; (iv) failure to submit a legible Claim Form; (v) submission of a fraudulent Claim

Form; (vi) submission of a Claim Form that is duplicative of another Claim Form; (vii) submission

of a Claim Form by a person who is not a member of the Settlement Class; (viii) request by a

person submitting the Claim Form to pay funds to a person or entity that is not the member of the

Settlement Class for whom the Claim Form is submitted; (ix) failure to submit a Claim Form by

the end of the Claim Period; or (x) failure to otherwise meet the requirements of this Settlement.

       D.      Injunctive Relief

       In connection with this Settlement, the service of the CLRA letters, and the filing of the

Action, and as a result thereof, Defendants have agreed to the following labeling and advertising

changes regarding the Covered Products to address concerns raised by Plaintiffs and the proposed

intervenors beginning no later than the Label Change Date and continuing for a period of three

years thereafter. The Label Change Date shall be July 1, 2018, unless the Court grants final

approval to this settlement prior to that date, in which case the Label Change Date shall be six

months after the date of such final approval.




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               1.      For as long as Defendants market the Covered Products as “Babyganics” on

the front labels, Defendants will include a statement on the front label referring consumers to the

back label for clarification of which ingredients are organic and which are not, subject to Section

X infra.

               2.      Defendant will remove the word “natural” from the front label of all

Covered Products, subject to Section X infra.

               3.      For as long as Defendants market the Sunscreen Products as “mineral-

based,” Defendants will define “mineral-based” on the product page on websites that Defendants

maintain to explain that “mineral-based” Sunscreen Products combine the protections of both

mineral and non-mineral barriers. The back labels of the Sunscreen Products will also provide

references to Defendants’ website

               4.      For all Sunscreen Products labeled SPF 50+, Defendants will conduct

testing of each batch of applicable sunscreen to determine the levels of active ingredients in the

batch. Consistent with FDA requirements, including tolerance levels, the results of such batch

testing shall match or exceed the active ingredient and levels expressed on front of package prior

to expiration. Each year for three years, starting on July 15, 2018 or the date of final order

(whichever is later) and on every anniversary of the applicable date for the three-year period,

Defendants shall send to Plaintiffs’ Counsel an affirmation that they are in compliance with this

provision. If Defendants fail to affirm that they are in compliance, Plaintiffs’ Counsel shall send

a letter by certified mail or courier to Defendants’ counsel notifying them of the failure to affirm.

Defendants will have 60 days from receipt of this notification to cure by way of an affirmation that

Defendants have complied with this provision.




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               5.      For Babyganics Chamomile Verbena Conditioning Shampoo + Body Wash,

Fragrance-Free Conditioning Shampoo + Body Wash, Fragrance-Free Bubble Bath, Chamomile

Verbena Bubble Bath, Fragrance-Free Moisturizing Therapy Cream Wash, Chamomile Verbena

Squeeze & Foam Shampoo + Body Wash, Orange Blossom Night Time Bubble Bath, Fragrance-

Free Shampoo +Body Wash, Chamomile Verbena Shampoo + Body Wash and Orange Blossom

Night Time Shampoo + Body Wash labeled “tear free”, Defendants will clarify on the back label

that product should not be applied directly to the eye, that eyes should be flushed with water if

product is applied to the eye, and that the product should be kept out of the reach of children absent

adult supervision

               6.      Defendants will not use a label statement “Plant-Based Ingredients” on pre-

moistened wipes (including Babyganics Face, Hand, and Baby Wipes; All Purpose Surface Wipes;

Toy, Table, and Highchair Wipes; Flushable Wipes; and Hand and Face Wipes, but excluding

sunscreen wipes governed by FDA disclosure obligations) unless (1) the wipes substrate are made

entirely from a material derived from plants or (2) the package lists the ingredients of the wipes

substrate.

               7.      Nothing in this settlement requires Defendants to conduct a recall or

otherwise prohibit them from selling inventory in existence and bearing pre-settlement labeling as

of the date of the Label Change Date.

V.     NOTICE TO THE SETTLEMENT CLASS, COMMUNICATIONS WITH
       SETTLEMENT CLASS MEMBERS AND REDEMPTION OF SETTLEMENT
       RELIEF

       A.      Class Notice

               1.      Defendants shall pay Notice and Claim Administration Expenses up to

$416,475.50, to be included as part of the Settlement Fund, including, inter alia, reimbursement

and/or payment of the total costs reasonably and actually incurred by the Class Action Settlement


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Administrator in connection with providing notice to and locating Settlement Class Members,

providing and processing Claim Forms, receiving requests for exclusions, assisting Settlement

Class Members with filing claims, and administering claims.                Any Notice and Claim

Administration Expenses that exceed $416,475.50 shall be paid out of the Settlement Fund, and

Defendants shall not bear further responsibility for such additional expenses.

                      (a)        The Class Notice shall conform to all applicable requirements of the

Federal Rules of Civil Procedure, the United States Constitution (including the Due Process

Clause), and any other applicable law, and shall otherwise be in the manner and form agreed upon

by the Parties and approved by the Court. Collectively, the Class Notice shall set forth the

following information:

                      (b)        General Terms. The Class Notice shall:

                              i.      inform Settlement Class Members that, if they do not
               exclude themselves from the Settlement Class, they may be eligible to receive the
               relief under the proposed settlement;

                             ii.      contain a short, plain statement of the background of the
               Litigation, the Settlement Class certification, and the proposed settlement;

                              iii.      describe the proposed settlement relief outlined in this
               Stipulation;

                             iv.        explain the impact of the proposed settlement on any
               existing litigation, arbitration, or other proceeding; and

                            v.      state that any relief to Settlement Class Members is
               contingent on the Court’s final approval of the proposed settlement.

                      (c)        Notice of Exclusion and Objection Rights. The Class Notice shall

inform Settlement Class Members:

                             i.       that they may exclude themselves from the Settlement
               Class by submitting a written exclusion request postmarked no later than 30 days
               before the date of the Final Approval Hearing;




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                            ii.       that any Settlement Class Member who has not submitted a
               written request for exclusion may, if he or she desires, object to the proposed
               settlement by filing and serving, no later than thirty (30) days before the Final
               Approval Hearing, a written statement of objections along with either: (1) Proof
               of Purchase of a Covered Product; or (2) a statement, sworn to under penalty of
               perjury, pursuant to 28 U.S.C. § 1746, attesting to the fact that he or she
               purchased one or more Covered Products during the Settlement Class Period.

                           iii.       that any Settlement Class Member who has filed and served
               written objections to the proposed settlement may, if he or she so requests, enter
               an appearance at the Final Approval Hearing either personally or through counsel;

                           iv.        that any Judgment entered in the Litigation, whether
               favorable or unfavorable to the Settlement Class, shall include, and be binding on,
               all Settlement Class Members, even if they have objected to the proposed
               settlement and even if they have any other claim, lawsuit, or proceeding pending
               against Defendant; and

                            v.       of the terms of the release.

               2.     No later than ten (10) days following entry of the Preliminary Approval

Order, to the extent that Defendants have contact information for Settlement Class Members,

Notice and the Claim Form shall be disseminated to Settlement Class Members by U.S. mail or

email (“Notice Mailing Date”).

               3.     No later than ten (10) days after entry of the Preliminary Approval Order,

the Class Notice shall be posted on the Settlement Website and, at Class Counsel’s option, on the

websites of Class Counsel. The Class Notice shall also be sent via electronic mail or regular mail

to those Settlement Class Members who so request. The Class Notice shall remain available by

these means until 101 days after the Court enters the Judgment.

       B.      Publication Notice

       No later than ten (10) days after entry of the Preliminary Approval Order, the Class Action

Settlement Administrator will cause to be published, in accordance with the Declaration of Steven

Weisbrot, Esq. on Adequacy of Notice Program attached as Exhibit F, the Short-form Notice, a

copy of which is attached as Exhibit C. The Short-form Notice shall also be posted on the


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Settlement Website until 101 days after the Court enters Judgment.

          C.   Retention of Class Action Settlement Administrator

               1.     Class Counsel shall, subject to the express written approval of Defendants’

Counsel, retain the Class Action Settlement Administrator to help implement the terms of the

proposed Stipulation. Subject to the terms set forth in Section V.A, Defendants shall pay all costs

associated with the Class Action Settlement Administrator, including costs of providing notice to

the Settlement Class Members and processing claims. Consistent with Paragraph V.A, supra, the

Parties have agreed that the funds deposited in the Settlement Fund will be used to cover Notice

and Claim Administration Expenses, that Defendants’ responsibility for such expenses is capped

at $400,000, and that any additional Notice and Claim Administration Expenses will be paid out

of the Settlement Fund and not by Defendants. The Settlement Administrator has agreed to cap

its Notice and Claim Administration expenses at $400,000 as a condition of being retained for this

matter.

               2.     The Parties have retained Angeion Group, LLC (the “Settlement

Administrator”) to help implement the terms of the proposed Agreement, as provided herein.

               3.     The Class Action Settlement Administrator shall assist with various

administrative tasks, including, without limitation: (a) mailing or arranging for the mailing or

other distribution of the Class Notice and Claim Forms to Settlement Class Members; (b) arranging

for publication of the Short-form Notice; (c) handling returned mail not delivered to Settlement

Class Members; (d) attempting to obtain updated address information for Settlement Class

Members and for any Class Notice packages returned without a forwarding address or an expired

forwarding address; (e) making any additional mailings required under the terms of this

Stipulation; (f) answering written inquiries from Settlement Class Members and/or forwarding




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such inquiries to Class Counsel or their designee; (g) receiving and maintaining, on behalf of the

Court and the Parties, any Settlement Class Member correspondence regarding requests for

exclusion to the settlement; (h) establishing the Settlement Website that posts notices, Claim

Forms, and other related documents; (i) receiving and processing claims and distributing payments

to Settlement Class Members; and (j) otherwise assisting with administration of the Stipulation.

               4.     The contract with the Class Action Settlement Administrator shall obligate

the Class Action Settlement Administrator to abide by the following performance standards:

                      (a)     The Class Action Settlement Administrator shall accurately and

neutrally describe, and shall train and instruct its employees and agents to accurately and

objectively describe, the provisions of this Agreement in communications with Settlement Class

Members;

                      (b)     The Class Action Settlement Administrator shall provide prompt,

accurate, and objective responses to inquiries from Class Counsel or their designee, Defendants,

and/or Defendants’ Counsel.

               5.     The Settlement Administrator shall gather and review the Claim Forms

received pursuant to the Agreement and fulfill valid claims. The Settlement Administrator shall

have a rigorous fraud prevention screening program.

                      (a)     Settlement Class Members who submit a timely and valid Claim

Form shall be designated as Authorized Claimants. The Settlement Administrator shall examine

the Claim Form before designating the Settlement Class Member as an Authorized Claimant to

determine that the information on the Claim Form is reasonably complete and contains sufficient

information to enable the mailing of the Settlement payment to the Settlement Class Member.




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                       (b)       No Settlement Class Member may submit more than one Claim

Form. Claim Forms shall be limited to one per Household. The Settlement Administrator shall

identify any Claim Forms that appear to seek relief on behalf of the same Settlement Class Member

(“Duplicate Claims”).        The Settlement Administrator shall determine whether there is any

duplication of claims, if necessary, by contacting the claimant(s) or their counsel. The Settlement

Administrator shall designate any such Duplicative Claims as invalid Claims to the extent they

allege the same damages or allege damages on behalf of the same Settlement Class Member.

                       (c)       The Settlement Administrator shall exercise, in its discretion, all

usual and customary steps to prevent fraud and abuse and take any reasonable steps to prevent

fraud and abuse in the Claim process. The Settlement Administrator may, in its discretion, deny

in whole or in part, any Claim to prevent actual or possible fraud or abuse. The Claim Form shall

not identify the suggested retail price of each Covered Product.

                       (d)       By agreement of the Parties, the Parties can instruct the Settlement

Administrator to take whatever steps they deem appropriate to preserve the Settlement Fund to

further the purposes of the Agreement if the Settlement Administrator identifies actual or possible

fraud or abuse relating to the submission of Claims, including, but not limited to, denying in whole

or in part any Claim to prevent actual or possible fraud or abuse.

                       (e)       The Settlement Administrator shall provide periodic reports to Class

Counsel and Defendant’s counsel regarding the implementation of the Agreement and this

protocol.




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VI.    OBJECTIONS, REQUESTS                      FOR        EXCLUSION,           AND        MEDIA
       COMMUNICATIONS

       A.      Objections

               1.      Any Settlement Class Member who intends to object to the fairness of the

Settlement must do so in writing no later than the Objection Date. Any objection must be in

writing; signed by the Settlement Class Member (and his or her attorney, if individually

represented); and filed with the Court, with a copy delivered to Class Counsel and Defendants’

Counsel at the addresses set forth in the Class Notice, no later than the Objection Date. The written

objection must include: (a) a heading which refers to the Action; (b) the objector’s name, address,

telephone number and, if represented by counsel, of his/her counsel; (c) a declaration submitted

under penalty of perjury that the objector purchased Covered Products during the period of time

described in the Settlement Class definition or receipt(s) reflecting such purchase(s); (d) a

statement whether the objector intends to appear at the Final Approval Hearing, either in person

or through counsel; (e) a statement of the objection and the grounds supporting the objection; (f)

copies of any papers, briefs, or other documents upon which the objection is based; (g) the name

and case number of all objections to class action settlements made by the objector in the past five

(5) years; and (h) the objector’s signature.

               2.      Any Settlement Class Member who files and serves a written objection, as

described in the preceding Section, may appear at the Final Approval Hearing, either in person or

through counsel hired at the Settlement Class Member’s expense, to object to any aspect of the

fairness, reasonableness, or adequacy of this Agreement, including Attorneys’ Fees and Expenses.

Settlement Class Members or their attorneys who intend to make an appearance at the Final

Approval Hearing must serve a notice of intention to appear on the Class Counsel identified in the

Class Notice, and to Defendant’s Counsel, and file the notice of appearance with the Court, no



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later than twenty (20) days before the Final Approval Hearing, or as the Court may otherwise

direct.

                 3.      Any Settlement Class Member who fails to comply with the provisions of

Section VI.A.1 above shall waive and forfeit any and all rights he or she may have to appear

separately and/or to object and shall be bound by all the terms of this Agreement and by all

proceedings, orders, and judgments, including, but not limited to, the Release, in the Action.

          Class Counsel shall have the right, and Defendants shall reserve their right, to respond to

any objection no later than seven (7) days before the Final Approval Hearing. The Party so

responding shall file a copy of the response with the Court and shall serve a copy, by regular mail,

hand, or overnight delivery, to the objecting Settlement Class Member or to the individually-hired

attorney for the objecting Settlement Class Member; to all class Counsel; and Defendants’

Counsel.

          B.     Requests for Exclusion

                 1.      Any member of the Settlement Class may request to be excluded from the

Settlement Class. A Settlement Class Member who wishes to opt out of the Settlement Class must

do so no later than Opt-Out Date. In order to opt out, a Settlement Class Member must send to the

Settlement Administrator a written Request for Exclusion that is postmarked no later than the Opt-

Out Date. The Request for Exclusion must be personally signed by the Settlement Class Member

requesting exclusion and contain a statement that indicates a desire to be excluded from the

Settlement Class.

                 2.      Any Settlement Class Member who does not file a timely written Request

for Exclusion shall be bound by all subsequent proceedings, orders, and the Final Judgment and




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Order Approving Settlement in this Action, even if he or she has pending, or subsequently initiates,

litigation, arbitration, or any other proceeding against Defendant relating to the Released Claims.

               3.      Any Settlement Class Member who properly requests to be excluded from

the Settlement Class shall not: (a) be bound by any orders or judgments entered in the Action

relating to the Agreement; (b) be entitled to an Award from the Settlement Fund, or be affected by

the Agreement; (c) gain any rights by virtue of the Agreement; or (d) be entitled to object to any

aspect of the Agreement.

               4.      The Settlement Administrator shall provide Class Counsel and Defendants’

Counsel with a final list of all timely Requests for Exclusion within five (5) business days after

the Opt-Out Date. Plaintiffs shall file the final list of all timely Requests for Exclusion prior to or

at the Final Approval Hearing.

       C.      Media Communications

               1.      Following the issuance of a Preliminary Approval Order providing for

dissemination of the Class Notice, the Parties agree that they may issue a joint press release.

Defendants and Class Counsel may post the joint press release on Defendants’ websites and Class

Counsel’s websites, if they so choose.

               2.      The Parties agree that representatives of Class Counsel are the sole people

authorized to respond on behalf of Plaintiffs to media inquiries or requests for comments with

respect to the Settlement or the underlying subject matter. Class Counsel will consult with

Defendants’ Counsel about the content of any such proposed response, and they will reach an

agreement with respect to the same, which agreement shall be consistent with the content and

purposes of this Agreement and the proposed Settlement. Nothing herein shall prevent Class




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Counsel from responding to class member inquiries regarding the Settlement in a manner

consistent with the terms and conditions of this Agreement.

VII.    RELEASES

        A.      As of the Effective Date, Plaintiffs and each Settlement Class Member who has not

validly excluded himself or herself from the Settlement Class pursuant to Section VI.B of this

Agreement shall be deemed to have, and by operation of the Judgment shall have, fully, finally,

and forever released, relinquished, and discharged all Released Claims against the Released

Persons. The Released Claims shall be construed as broadly as possible to effect complete finality

over this litigation involving the advertising, labeling, and marketing of the Covered Products as

set forth herein.

        B.      In connection with the Released Claims, each Settlement Class Member shall be

deemed as of the Effective Date to have waived any and all provisions, rights, and benefits

conferred by § 1542 of the California Civil Code and any statute, rule, and legal doctrine similar,

comparable, or equivalent to California Civil Code § 1542, which reads as follows:

                A general release does not extend to claims which the creditor
                does not know or suspect to exist in his or her favor at the time
                of executing the release, which if known by him or her must have
                materially affected his or her settlement with the debtor.

        C.      Plaintiffs understand that the facts upon which this Agreement is executed may

hereafter be other than or different from the facts now believed by Plaintiffs and Class Counsel to

be true and nevertheless agree that this Class Settlement Agreement and the Release shall remain

effective notwithstanding any such difference in facts.

        D.      To the extent permitted by law, this Agreement may be pleaded as a full and

complete defense to, and may be used as the basis for an injunction against, any action, suit, or

other proceeding that may be instituted, prosecuted, or attempted in breach of or contrary to this



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Agreement, or any other action or claim that arises out of the same factual predicate or same set

of operative facts as this Action.

VIII. ATTORNEYS’   FEES,   COSTS,  AND                          EXPENSES          AND       CLASS
      REPRESENTATIVES’ SERVICE AWARDS

       A.      The award of Attorneys’ Fees and Expenses will be paid from the Settlement Fund

and as set forth in Section IV.A.1 above.

       B.      Class Counsel agrees to make, and Defendant agrees not to oppose, an application

for the fee and expense award in the Litigation not to exceed a total of $733,333.33 in attorneys’

fees and reasonable, actual out-of-pocket expenses (“Fee and Expense Award”).

               1.      Attorneys’ fees and expenses awarded by the Court shall be payable as set

forth above no more than 30 days after the Final Approval Order, provided that, pursuant to the

terms of the undertaking attached as Exhibit G to this Agreement, any such Attorneys’ Fees and

Expenses will be repaid to Defendants by Class Counsel should the Effective Date not occur.

       C.      In the event of an objection to attorneys’ fees by someone other than Defendants,

and if Class Counsel makes representations to the Court about the basis for the fee request that

Defendants do not agree with, Defendants reserve the right to make additional representations to

the Court for purposes of correcting the record.

       D.      Class Counsel, in their sole discretion, shall allocate and distribute the Court’s Fee

and Expense Award in good faith among Class Counsel and Additional Plaintiffs’ Counsel in this

Litigation.

       E.      In addition to the amounts set forth above, Defendants agree not to oppose an

application for Plaintiffs’ Service Awards in the amount of $3,500 to each of the Plaintiffs. The

Service Awards to these Plaintiffs will be in addition to the other consideration to the Settlement

Class Members, as set forth in Section IV.A above.



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       F.      All fees and expenses awarded to Class Counsel and incentive awards awarded to

Plaintiffs will be paid by Defendant from the $2,215,000 Settlement Fund.

IX.    FINAL JUDGMENT AND ORDER APPROVING SETTLEMENT

       This Agreement is subject to and conditioned upon the issuance by the Court of the Final

Judgment and Order Approving Settlement that finally certifies the Settlement Class for the

purposes of this Settlement, grants final approval of the Agreement, and provides the relief

specified herein, which relief shall be subject to the terms and conditions of the Agreement and

the Parties’ performance of their continuing rights and obligations hereunder.

X.     PERMITTED CONDUCT

       A.      Subject to the modifications set forth in this Agreement, Class Members and Class

Counsel agree that nothing in this Agreement shall prevent Defendant from labeling, marketing,

and advertising its products or its product’s ingredient(s) as being “organic” when they are made

of ingredients listed as “organic,” “approved” “certified,” or that have been validated or designated

as “organic” by the United States Department of Agriculture (USDA) or in accordance with any

like state law or regulation.

       B.      Nothing in this Agreement shall prohibit or limit Defendants’ right or ability to use

or permit others to use, in accordance with all applicable laws and regulations, its licenses, logos,

taglines, product descriptors, or registered trademarks.

       C.      Nothing in this Agreement shall preclude Defendants from making “natural” claims

in accordance with applicable FDA, USDA or other federal regulations, or federal agency policy

statements, or in accordance with any like state law or regulations. Specifically, Defendant shall

be permitted to use the term “natural” on its labeling of insect repellant provided that the insect

repellent is a minimum risk pesticide under Section 25(b) of the Federal Insecticide, Fungicide,

and Rodenticide Act (FIFRA) and 40 C.F.R § 152.25(f) (as amended). Nothing in this Agreement


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shall preclude Defendants from making any product formulation, labeling, marketing, advertising,

or packaging changes to its products that (i) Defendants reasonably believe are necessary to

comply with any changes to any applicable statute, regulation, pronouncement, guidance, or other

law of any kind (including but not limited to the Federal Food, Drug and Cosmetic Act; FDA

regulations; U.S. Department of Agriculture regulations; Federal Trade Commission regulations;

and/or the California Sherman Food, Drug, and Cosmetic Law); or (ii) are necessitated by product

changes and/or reformulations to ensure that Defendants provide accurate product descriptions and

do not significantly differ from the changes agreed to in this Agreement.

XI.    REPRESENTATIONS AND WARRANTIES

       A.      Defendants represent and warrant: (1) that they have the requisite corporate power

and authority to execute, deliver, and perform the Agreement and to consummate the transactions

contemplated hereby; (2) that the execution, delivery, and performance of the Agreement and the

consummation by it of the actions contemplated herein have been duly authorized by necessary

corporate action on the part of Defendants; and (3) that the Agreement has been duly and validly

executed and delivered by Defendants and constitutes its legal, valid, and binding obligation.

       B.      Plaintiffs represent and warrant that they are entering into the Agreement on behalf

of themselves individually and as proposed representatives of the Settlement Class Members, of

their own free will, and without the receipt of any consideration other than what is provided in the

Agreement or disclosed to, and authorized by, the Court. Plaintiffs represent and warrant that they

have reviewed the terms of the Agreement in consultation with Class Counsel and believe them to

be fair and reasonable. Class Counsel represent and warrant that they are fully authorized to

execute the Agreement on behalf of Plaintiffs.

       C.      The Parties warrant and represent that no promise, inducement, or consideration for

the Agreement has been made, except those set forth herein.


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XII.    NO ADMISSIONS, NO USE

        The Agreement and every stipulation and term contained in it is conditioned upon final

approval of the Court and is made for settlement purposes only. Whether or not consummated,

this Agreement shall not be: (a) construed as, offered in evidence as, received in evidence as,

and/or deemed to be evidence of a presumption, concession, or an admission by Plaintiffs,

Defendants, any Settlement Class Member or Releasing or Released Party, of the truth of any fact

alleged or the validity of any claim or defense that has been, could have been, or in the future

might be asserted in any litigation or the deficiency of any claim or defense that has been, could

have been, or in the future might be asserted in any litigation, or of any liability, fault, wrongdoing,

or otherwise of such Party; or (b) construed as, offered in evidence as, received in evidence as,

and/or deemed to be evidence of a presumption, concession, or an admission of any liability, fault

or wrongdoing, or in any way referred to for any other reason, by Plaintiffs, Defendants, any

Releasing Party or Released Party in the Action or in any other civil, criminal or administrative

action or proceeding other than such proceedings as may be necessary to effectuate the provisions

of the Agreement.

XIII. MISCELLANEOUS PROVISIONS

        A.      Entire Agreement: The Agreement, including all Exhibits hereto, shall constitute

the entire Agreement among the Parties with regard to the Agreement and shall supersede any

previous agreements, representations, communications, and understandings among the Parties

with respect to the subject matter of the Agreement. The Agreement may not be changed,

modified, or amended except in a writing signed by one of Class Counsel and one of Defendants’

Counsel and, if required, approved by the Court. The Parties contemplate that the Exhibits to the

Agreement may be modified by subsequent agreement of Defendants’ and Class Counsel, or by




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the Court. The Parties may make non-material changes to the Exhibits to the extent deemed

necessary, as agreed to in writing by all Parties.

       B.      Governing Law: The Agreement shall be construed under and governed by the

laws of the State of New York, applied without regard to laws applicable to choice of law.

       C.      Execution in Counterparts: The Agreement may be executed by the Parties in one

or more counterparts, each of which shall be deemed an original but all of which together shall

constitute one and the same instrument. Facsimile signatures or signatures scanned to PDF and

sent by e-mail shall be treated as original signatures and shall be binding.

       D.      Notices: Whenever this Agreement requires or contemplates that one Party shall

or may give notice to the other, notice shall be provided in writing by first class U.S. Mail and

email to:

               1.      If to Plaintiffs or Class Counsel:

                       Melissa S. Weiner
                       Halunen Law
                       1650 IDS Center, 80 So. 8th Street
                       Minneapolis, MN 55402
                       (612)-605-4098
                       weiner@halunenlaw.com

                       Charles Joseph LaDuca
                       Katherine Van Dyck
                       Cuneo Gilbert & Laduca, LLP
                       4725 Wisconsin Avenue NW, Suite 200
                       Washington, DC 20016
                       (202)-789-3960
                       kvandyck@cuneolaw.com
                       charles@cuneolaw.com

                       Jason P. Sultzer
                       The Sultzer Law Group PC
                       77 Water Street, 8th Floor
                       New York, NY 10005
                       646-722-4266
                       sultzerj@thesultzerlawgroup.com



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               2.      If to Defendants or Defendants’ Counsel:

                       Hannah Y. Chanoine
                       O’Melveny & Myers LLP
                       7 Times Square
                       New York, NY 10036
                       hchanoine@omm.com; and

       E.      Stay of Proceedings: Upon the execution of this Agreement, all discovery and other

proceedings in the Action shall be stayed until further order of the Court, except for proceedings

that may be necessary to implement the Agreement or comply with or effectuate the terms of this

Settlement Agreement.

       F.      Good Faith: The Parties agree that they will act in good faith and will not engage

in any conduct that will or may frustrate the purpose of this Agreement. The Parties further agree,

subject to Court approval as needed, to reasonable extensions of time to carry out any of the

provisions of the Agreement.

       G.      Binding on Successors: The Agreement shall be binding upon, and inure to the

benefit of, the heirs of the Released Parties.

       H.      Arms’-Length Negotiations:        The determination of the terms and conditions

contained herein and the drafting of the provisions of this Agreement has been by mutual

understanding after negotiation, with consideration by, and participation of, the Parties hereto and

their counsel. This Agreement shall not be construed against any Party on the basis that the Party

was the drafter or participated in the drafting. Any statute or rule of construction that ambiguities

are to be resolved against the drafting party shall not be employed in the implementation of this

Agreement, and the Parties agree that the drafting of this Agreement has been a mutual

undertaking.

       I.      Waiver: The waiver by one Party of any provision or breach of the Agreement shall

not be deemed a waiver of any other provision or breach of the Agreement.


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       J.      Variance: In the event of any variance between the terms of this Agreement and

any of the Exhibits hereto, the terms of this Agreement shall control and supersede the Exhibit(s).

       K.      Exhibits: All Exhibits to this Agreement are material and integral parts hereof and

are incorporated by reference as if fully rewritten herein.

       L.      Taxes: No opinion concerning the tax consequences of the Agreement to any

Settlement Class Member is given or will be given by Defendants, Defendants’ Counsel, Class

Counsel, or Plaintiffs’ Counsel, nor is any Party or their counsel providing any representation or

guarantee respecting the tax consequences of the Agreement as to any Settlement Class Member.

Each Settlement Class Member is responsible for his/her tax reporting and other obligations

respecting the Agreement, if any.

       M.      Implementation Before Effective Date:          The Parties may agree in writing to

implement the Agreement, or any portion thereof, after the entry of the Final Judgment and Order

Approving Settlement, but prior to the Effective Date.

       N.      Modification in Writing: This Agreement may be amended or modified only by

written instrument signed by one of Class Counsel and one of Defendant’s Counsel. Amendments

and modifications may be made without additional notice to the Settlement Class Members unless

such notice is required by the Court.

       O.      Integration: This Agreement represents the entire understanding and agreement

among the Parties and supersedes all prior proposals, negotiations, agreements, and understandings

related to the subject matter of this Agreement. The Parties acknowledge, stipulate, and agree that

no covenant, obligation, condition, representation, warranty, inducement, negotiation, or

undertaking concerning any part or all of the subject matter of this Agreement has been made or

relied upon except as set forth expressly herein.




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       P.     Retain Jurisdiction:   The Court shall retain jurisdiction with respect to the

implementation and enforcement of the terms of this Agreement, and all Parties hereto submit to

the jurisdiction of the Court for purposes of implementing and enforcing the agreement embodied

in this Agreement.


[SIGNATURES ON FOLLOWING PAGES]




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Dated:                              By: '"""····--·-··----·--·--·-·--------··---····-·-···-··--····---·--·-·----·-·----
                                    Plainti:ff Tanveer Alibhai




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Dated:                                 By: /s/
                                       Plaintiff Tanya Mayhew


         11/21/2017
Dated:                                 By: /s/
                                       Plaintiff Tanveer Alibhai



Dated:                                 By: /s/
                                       Plaintiff Tara Festa




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            EXHIBIT A

       CLAIM FORM
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                                        Mayhew, et. al v. KAS Direct, LLC
                                           Claim Form Instructions

                              INSTRUCTIONS FOR COMPLETING THE CLAIM FORM

If you believe you are an eligible Settlement Class Member and you wish to apply for a Settlement benefit, you must complete
and submit a Claim Form. Please read the full Class Notice available at [INSERT WEBSITE] carefully before completing a
Claim Form. You may submit your Claim Form online at the Settlement website or by completing the enclosed Claim Form and
mailing it to the Settlement Administrator:

        ONLINE:         Visit the Settlement website at: [INSERT WEBSITE] and submit your claim online.

        MAIL:           [INSERT ADDRESS]

If you submit your Claim Form online, you must do so on or before _________, 2017. If you are mailing your Claim Form,
first-class United States Mail, it must be postmarked no later than ______________, 2017.

If you have questions about this Claim Form, please visit the website at [INSERT WEBSITE], or contact the Settlement
Administrator via email: [insert email address] or toll-free at [phone number].



                                         CLAIM FORM REMINDER CHECKLIST

                                Before submitting this Claim Form, please make sure you:

    1. Complete all fields in Section A (Name and Contact Information) of this Claim Form.

    2. List all of the Babyganics Products purchased in Section B of this Claim Form.

    3. YOU MUST sign the Attestation under penalty of perjury in Section C of this Claim Form.

    4. Include copies of your Proof of Purchase documentation that you are submitting in support of your Claim Form. Do not
        send original documents.



                                   Please keep a copy of your Claim Form for your records.




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  Your claim must                         Mayhew, et. al v. KAS Direct, LLC
 be postmarked by:                                 Claim Form                                                   BBG
  XXXX XX, 2017                                                                                              Claim Form

SECTION A: NAME AND CONTACT INFORMATION

Provide your name and contact information below. It is your responsibility to notify the Settlement Administrator of any changes
to your contact information after the submission of your Claim Form.



               First Name                                                    Last Name



             Street Address



                    City                                   State              Zip Code



                  Phone Number                                                 E-Mail Address

SECTION B: BABYGANICS PRODUCT PURCHASE VERIFICATION

Provide the following information regarding Purchases of Babyganics Products you made during the Class Period and
indicate which Purchases you are attaching Proof of Purchase documentation. Proof of Purchase means a valid receipt or
other documentation reflecting a purchase of a specific Covered Product during the Class Period.
There is no Product Limit for Products for which Proof of Purchase is provided. Maximum of 8 Products without
Proof of Purchase. Limit 1 Claim Form per Household.

                                                                                              Approximate
                                                                                                Date(s) of         Proof of
  Product                                                                     # Products       Purchase(s)        Purchase
   Code                           Babyganics Product                          Purchased       (MM/YYYY)           Attached?




[INSERT LIST OF BABYGANICS PRODUCTS]




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SECTION C: ATTESTATION UNDER PENALTY OF PERJURY


I declare, under penalty of perjury, that the information in the Claim Form is true and correct to the best of my knowledge,
and that I purchased the Covered Product(s) claimed above in the United States during the Class Period for personal or
household use and not for resale. I understand that my Claim Form may be subject to audit, verification, and Court review.
Neither myself nor anyone from my Household has previously submitted a Claim Form in this Settlement.




                  Signature                              Date


                  Print Name

      Please note that you will not be eligible to receive any settlement benefits unless you sign above.




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             EXHIBIT B

         LONG-FORM
           NOTICE
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           UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK

                 If you purchased any Babyganics Products
   Between September 7, 2010 and [DATE OF PRELIMINARY APPROVAL
                                   ORDER]
   You May be Eligible to Receive a Payment from a Class Action Settlement.
                  A Federal Court authorized this notice. This is not a solicitation from a lawyer.

    •    A proposed nationwide Settlement has been reached in a class action lawsuit involving Babyganics Products. The
         Settlement resolves litigation over whether the Defendants allegedly violated state laws regarding the marketing
         and sale of certain Babyganics Products.

    •    You may be eligible to participate in the proposed Settlement, if it is finally approved, if you purchased any
         Babyganics Products between September 7, 2010 and [DATE OF PRELIMINARY APPROVAL
         ORDER].

    •    The Settlement will provide payments to those who qualify. You will need to file a Claim Form to get a payment
         from the Settlement.

    •    Your legal rights are affected whether you act or don’t act. Read this notice carefully.

                         YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

         SUBMIT A CLAIM FORM
                                         This is the only way to get a payment.
        BY [INSERT DEADLINE]

                                         Get no payment from the Settlement. This is the only option that allows you to
          EXCLUDE YOURSELF
                                         ever be a part of any other lawsuit against the Defendants about the legal claims in
        BY [INSERT DEADLINE]
                                         this case.

              OBJECT BY                  Write to the Court about why you think the settlement is unfair, inadequate, or
         [INSERT DEADLINE]               unreasonable.

         GO TO A HEARING
     [INSERT HEARING DATE]               Ask to speak in Court about the fairness of the Settlement.


                                         Get no payment. Give up rights to ever sue the Defendants about the legal claims
              DO NOTHING
                                         in this case.

• These rights and options—and the deadlines to exercise them—are explained in this notice. The deadlines may be
  moved, canceled, or otherwise modified, so please check the Settlement Website, [INSERT URL] regularly for updates
  and further details.

• The Court in charge of this case still has to decide whether to approve the Settlement. Payments will be made if the Court
  approves the Settlement and after any appeals are resolved. Please be patient.
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                                        WHAT THIS NOTICE CONTAINS:
BASIC INFORMATION
1.  Why is there a notice?
2.  What is this lawsuit about?
3.  Why is this a class action?
4.  Why is there a Settlement?

WHO IS IN THE SETTLEMENT?
5. How do I know if I am in the Settlement?
6. Which Products are included in the Settlement?
7. What if I am still not sure if I am included in the Settlement?

SETTLEMENT BENEFITS
8.  What does the Settlement provide?
9.  What can I get from the Settlement?
10. What am I giving up to stay in the Class?

HOW TO GET A PAYMENT
11. How can I get a payment?
12. When will I get my payment?

EXCLUDING YOURSELF FROM THE SETTLEMENT
13. How do I get out of the Settlement?
14. If I don’t exclude myself, can I sue the Defendants for the same thing later?
15. If I exclude myself, can I still get a payment?

OBJECTING TO THE SETTLEMENT
16. How can I tell the Court if I do not like the Settlement?
17. What is the difference between objecting and excluding?

THE LAWYERS REPRESENTING YOU
18. Do I have a lawyer in this case?
19. How will the lawyers be paid?

THE COURT’S FAIRNESS HEARING
20. When and where will the Court decide whether to approve the Settlement?
21. Do I have to come to the hearing?
22. May I speak at the hearing?

IF YOU DO NOTHING
23. What happens if I do nothing at all?

GETTING MORE INFORMATION
24. How do I get more information?




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                                                BASIC INFORMATION
1.   Why is there a notice?
     You have a right to know about a proposed Settlement of a class action lawsuit, and about your options, before the
     Court decides whether to approve the Settlement.
     The Court in charge of this case is the United States District Court for the Southern District of New York (the “Court”),
     and the case is called Mayhew et al. v. KAS Direct, LLC, Case No. 7:16-cv-06981-VB. The individuals who sued
     are called the Plaintiffs, and the companies they sued, KAS Direct, LLC and S.C. Johnson & Son, Inc., are called the
     Defendants.

2.   What is this lawsuit about?
     The lawsuit alleges that the Defendants violated certain laws in marketing and sales of Babyganics Products, including
     the use of the terms “Babyganics” “mineral-based” and “natural.” The Settlement of this lawsuit will also resolve
     claims relating to subsets of Babyganics Products that were raised in the following cases: Machlan v. S.C. Johnson,
     Inc., Case No. CGC-17-557613 (Sup. Ct. CA), later removed on April 28, 2017 to the District Court of the Northern
     District of California, No. 3:17-cv-02442 (certain Babyganics pre-moistened wipes with “plant”-related labeling);
     Skeen v. KAS Direct, LLC, d/b/a/ Babyganics, No. 1:17-cv-04119 (S.D.N.Y.) (certain Babyganics products with
     “tear-free”-related labeling); and Carroll v. S. C. Johnson & Son, Inc., Case No. 1:17-cv-5828, (N.D. Ill.) (certain
     Babyganics and mineral-based sunscreen products with SPF 50+ labeling).

     The Defendants deny any and all wrongdoing of any kind whatsoever, and deny any liability to Plaintiffs and to the
     Settlement Class.

3.   Why is this a class action?
     In a class action, one or more people, called “Class Representatives,” sue on behalf of people who have similar claims.
     All these people are in a “class” or “class members,” except for those who exclude themselves from the class. United
     States District Court Judge Vincent L. Briccetti in the United States District Court for the Southern District of New
     York is in charge of this class action.

4.   Why is there a Settlement?
     The Defendants are not admitting that they did anything wrong and both sides want to avoid the cost of further
     litigation. The Court has not decided in favor of the Plaintiffs or the Defendants. The Class Representatives and their
     attorneys think the Settlement is best for everyone who is affected. The Settlement provides the opportunity for
     Settlement Class Members to receive Settlement benefits.


                                         WHO IS IN THE SETTLEMENT?
5.   How do I know if I am in the Settlement?
     The Settlement Class includes all persons and entities in the United States who made retail purchases of Covered
     Products from September 7, 2010 to [DATE OF PRELIMINARY APPROVAL ORDER]. Excluded from the
     Settlement Class are: (a) Defendants’ employees, officers, directors, agents, and representatives; (b) those who
     purchased Covered Products for the purpose of re-sale; (c) federal judges who have presided over this case; and (d)
     all Persons who have been properly excluded from the Settlement Class.

6.   Which Products are included in the Settlement?
     The Covered Products in this Settlement means any Babyganics product, regardless of product line, scent, and/or unit
     size, marketed and sold by the Defendants in the United States. For a list of eligible Babyganics Products, please visit
     the Settlement Website, [INSERT URL].

7.   What if I am still not sure if I am included in the Settlement?
     If you are not sure whether you are a Settlement Class Member, or have any other questions about the Settlement
     Agreement, you should visit the Settlement Website, [INSERT URL], or call the toll-free number, [INSERT
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      TOLL FREE NUMBER].
                                               SETTLEMENT BENEFITS
8.    What does the Settlement provide?
      The Settlement provides for a Settlement Fund in the amount of $2,215,000 to pay (1) Eligible Claims submitted by
      Settlement Class Members; (2) Attorneys’ Fees and Expenses; (3) Notice and Claim Administration Expenses; and
      (4) any Service Awards made by the Court to Plaintiffs. Settlement Class Members who timely submit valid Claim
      Forms are entitled to receive a cash payment from the Settlement. The actual amount recovered by each Settlement
      Class Member will not be determined until after the Claim Period has ended and all Claims have been calculated.

9.    What can I get from the Settlement?
      If you submit a valid Claim Form by the deadline, you can get a payment from the Settlement. If, after subtracting
      from the Settlement Fund amount the Attorneys’ Fees and Expenses, Notice and Claim Administration Expenses, and
      any Service Awards made by the Court to Plaintiffs, the funds remaining are insufficient to pay all of the Approved
      Claims, then Settlement Class payments will be reduced proportionately.

10.   What am I giving up to stay in the Class?
      Unless you exclude yourself from the Settlement, you cannot sue the Defendants, continue to sue, or be part of any
      other lawsuit against the Defendants about the claims released in this Settlement. It also means that all of the decisions
      by the Court will bind you. Below is a summary of Released Claims. The full Release is described more fully in the
      Settlement Agreement and describes exactly the legal claims that you give up if you stay in the Settlement Class. The
      Settlement Agreement is available at the Settlement Website, [INSERT URL].

      “Released Claims” means, with the exception of claims for personal injury, any and all suits, actions, claims, liens,
      demands, actions, causes of action, obligations, rights, damages, or liabilities of any nature whatsoever, contingent
      or absolute, matured or unmatured, including Unknown Claims (as defined below), whether arising under any
      international, federal, state, or local statute, ordinance, common law, regulation, principle of equity or otherwise,
      that actually were, or could have been, asserted in the Litigation, including, but not limited to, claims which are
      based on any assertion or contention that the packaging of Covered Products, including the labels, or Advertising
      based on the content of those labels were inaccurate, misleading, false, deceptive or fraudulent. Released Claims
      include claims or potential claims arising from any purchases of the Covered Products from September 7, 2010 to
      the date of the Court’s preliminary approval. Released claims also specifically include the claims raised in the
      lawsuits captioned Machlan v. S.C. Johnson, Inc., Case No. CGC-17-557613 (Sup. Ct. CA), later removed on April
      28, 2017 to the District Court of the Northern District of California, No. 3:17-cv-02442, concerning a subset of the
      Covered Products (certain Babyganics pre-moistened wipes with “plant”-related labeling); Skeen v. KAS Direct,
      LLC, d/b/a/ Babyganics, No. 1:17-cv-04119 (S.D.N.Y.) concerning a subset of the Covered Products (certain
      Babyganics products with “tear-free”-related labeling); and Carroll v. S. C. Johnson & Son, Inc., Case No. 1:17-cv-
      5828, (N.D. Ill.) concerning a subset of the Covered Products (certain Babyganics and mineral-based sunscreen
      products with SPF 50+ labeling).

                                              HOW TO GET A PAYMENT
11.   How can I get a payment?
      To be eligible to receive a payment from the Settlement, you must complete and submit a timely Claim Form. You
      can complete and submit your Claim Form online at the Settlement Website, [INSERT URL]. The Claim Form can
      be downloaded from the Settlement Website, as well. You can request a Claim Form be sent to you by sending a
      written request to the Settlement Administrator by mail or by email.

      MAIL:     [INSERT ADDRESS]

      EMAIL: [INSERT EMAIL ADDRESS]
      Please read the instructions carefully, fill out the Claim Form, and mail it postmarked no later than [INSERT

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      DEADLINE DATE] to: Settlement Administrator, [INSERT ADDRESS], or submit your Claim Form online
      at the Settlement Website, [INSERT URL], by [INSERT DEADLINE DATE].
      If you do not submit a valid Claim Form by the deadline, you will not receive a payment.

12.   When will I get my payment?
      Payments will be mailed to Settlement Class Members who send in valid and timely Claim Forms after the Court
      grants “final approval” to the Settlement and after any and all appeals are resolved. If the Court approves the
      Settlement after a hearing on [INSERT DATE], there may be appeals. It’s always uncertain whether these appeals
      can be resolved, and resolving them can take time.

                             EXCLUDING YOURSELF FROM THE SETTLEMENT
      If you don’t want a payment from the Settlement, and you want to keep the right to sue or continue to sue the
      Defendants on your own about the claims released in this Settlement, then you must take steps to get out. This is
      called excluding yourself—or it is sometimes referred to as “opting out” of the Settlement Class.

13.   How do I get out of the Settlement?
      To exclude yourself (or “Opt-Out”) from the Settlement, you must complete and mail to the Settlement Administrator
      a written request that includes the following:
      •         Your name and address;
      •         The name of the case: Mayhew et al. v. KAS Direct, LLC, Case No. 7:16-cv-06981-VB;
      •         A statement that you want to be excluded from this Settlement; and
      •         Your signature. Your exclusion request must be personally signed.
      You must mail your exclusion request, postmarked no later than [INSERT DEADLINE DATE] to:

                                                   [INSERT ADDRESS]
      If you don’t include the required information or submit your request for exclusion on time, you will remain a
      Settlement Class Member and will not be able to sue the Defendants about the claims in this lawsuit.

14.   If I don’t exclude myself, can I sue the Defendants for the same thing later?
      No. Unless you exclude yourself, you give up any right to sue the Defendants for the claims that this Settlement
      resolves. If you have a pending lawsuit, speak to your lawyer in that lawsuit immediately. You must exclude yourself
      from this Settlement Class to continue your own lawsuit. If you properly exclude yourself from the Settlement Class,
      you shall not be bound by any orders or judgments entered in the Action relating to the Settlement Agreement.

15.   If I exclude myself, can I still get a payment?
      No. You will not get any money from the Settlement if you exclude yourself. If you exclude yourself from the
      Settlement, do not send in a Claim Form asking for benefits.

                                       OBJECTING TO THE SETTLEMENT
16.   How can I tell the Court if I do not like the Settlement?
      A Settlement Class Member may object to the proposed Settlement. A Settlement Class Member may object to the
      Settlement either on his or her own without an attorney, or through an attorney hired at his or her expense. Any
      objection must be in writing, signed by the Settlement Class Member (and his or her attorney, if individually
      represented), filed with the Court, with a copy delivered to Class Counsel and Defendants’ Counsel, at the addresses
      set forth below, no later than [INSERT DEADLINE DATE]. Any objection shall contain a caption or title that
      identifies it as “Objection to Class Settlement in Mayhew et al. v. KAS Direc LLC, Case No. 7:16-cv-06981-VB.”


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      The written objection must include: (a) a heading which refers to the Action; (b) the objector’s name, address,
      telephone number, and, if represented by counsel, his/her counsel; (c) a declaration submitted under penalty of perjury
      that the objector purchased Covered Products during the period of time described in the Settlement Class definition
      or receipt(s) reflecting such purchase(s); (d) a statement whether the objector intends to appear at the Final Approval
      Hearing, either in person or through counsel; (e) a statement of the objection and the grounds supporting the objection;
      (f) copies of any papers, briefs, or other documents upon which the objection is based; (g) the name and case number
      of all objections to class action settlements made by the objector in the past five (5) years; and (h) the objector’s
      signature.

       Your objection, along with any supporting material you wish to submit, must be filed with the Court, with a copy
       delivered to Class Counsel and Defendants’ Counsel no later than [INSERT DEADLINE DATE] at the following
       addresses:

                        Court                             Class Counsel                        Class Counsel
      The United States District Court for the   Melissa S. Weiner                   Charles Joseph LaDuca
      Southern District of New York              Halunen Law                         Katherine Van Dyck
      The Hon. Charles L. Brieant Jr. Federal    1650 IDS Center, 80 So. 8th St.     Cuneo Gilbert & LaDuca, LLP
      Building and Courthouse                    Minneapolis, MN 55402               4725 Wisconsin Avenue NW,
      300 Quarropas Street                                                           Suite 200
      White Plains, NY 10601                                                         Washington, DC 20016
                    Class Counsel                     Defendants’ Counsel
      Jason P. Sultzer                           Hannah Y. Chanoine
      The Sultzer Law Group PC                   O’Melveny & Myers LLP
      77 Water Street, 8th Floor                 7 Times Square
      New York, NY 10005                         New York, NY 10036



17.    What is the difference between objecting and excluding?
       Objecting is simply telling the Court that you don’t like something about the Settlement. You can object to the
       Settlement only if you do not exclude yourself from the Settlement. Excluding yourself from the Settlement is telling
       the Court that you don’t want to be part of the Settlement. If you exclude yourself from the Settlement, you have no
       basis to object to the Settlement because it no longer affects you.

                                        THE LAWYERS REPRESENTING YOU
18.    Do I have a lawyer in this case?
       Yes. The Court has appointed these lawyers and firms as “Class Counsel,” meaning that they were appointed to
       represent all Settlement Class Members: Melissa S. Weiner of Halunen Law; Charles Joseph LaDuca and
       Katherine Van Dyck of Cuneo Gilbert & LaDuca, LLP; and Jason Sultzer of The Sultzer Law Group PC.

       You will not be charged for these lawyers. If you want to be represented by your own lawyer, you may hire one at your
       own expense.

19.    How will the lawyers be paid?
       Class Counsel intends to file a motion on or before [INSERT DATE] seeking $733,333.33, in Attorneys’ Fees and
       Expenses. The fees and expenses awarded by the Court will be paid from the Settlement. The Court will determine
       the amount of fees and expenses to award. Class Counsel will also request that $3,500.00 be paid from the Settlement
       to each of the named Plaintiffs who helped the lawyers on behalf of the whole Class.




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                                       THE COURT’S FAIRNESS HEARING
20.   When and where will the Court decide whether to approve the Settlement?
      The Court will hold a Fairness Hearing on [INSERT DATE] at the United States District Court for the Southern
      District of New York, before the Honorable Vincent L. Briccetti, United States District Judge, in Courtroom XXX,
      in the Hon. Charles L. Brieant Jr. Federal Building and Courthouse, 300 Quarropas Street, White Plains, NY 10601.

      At the Fairness Hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate. The Court
      will also consider how much to pay Class Counsel and the Class Representatives. If there are objections, the Court
      will consider them at this time. After the hearing, the Court will decide whether to approve the Settlement. We do
      not know how long these decisions will take.

21.   Do I have to come to the hearing?
      No. Class Counsel will answer any questions that the Court may have, but you may come at your own expense. If
      you send an objection, you don’t have to come to Court to talk about it. As long as you filed and mailed your written
      objection on time to the proper addresses, the Court will consider it. You may also pay your own lawyer to attend,
      but it’s not necessary.

22.   May I speak at the hearing?
      Yes. You may ask the Court for permission to speak at the Fairness Hearing. To do so, you must send a letter saying
      that it is your “Notice of Intent to Appear.” Please refer to question 16 above for more information.

      Your Notice of Intent to Appear must be filed with the Court and served on Class Counsel and Defendants’ Counsel
      no later than [INSERT DEADLINE DATE].

                                                 IF YOU DO NOTHING

23.   What happens if I do nothing at all?
      If you do nothing, you will not get a payment from the Settlement. Unless you exclude yourself, you won’t be able to
      start a lawsuit, continue with a lawsuit, or be part of any other lawsuit against the Defendant about the legal issues in
      this case, ever again.

                                           GETTING MORE INFORMATION

24.   How do I get more information?
      This notice summarizes the proposed Settlement. More details are in the Joint Stipulation of Settlement. You can
      review a complete copy the Settlement Agreement and other information at the Settlement Website, [INSERT
      URL]. If you have additional questions or want to request a Claim Form, you can visit the Settlement Website,
      [INSERT URL]. You can also write to the Settlement Administrator by mail or email, or call toll-free.

      MAIL:     [INSERT ADDRESS]

      EMAIL: [INSERT EMAIL ADDRESS]

      PHONE: [INSERT TOLL FREE NUMBER]
      Updates will be posted at the Settlement Website, [INSERT URL], as information about the Settlement process
      becomes available.

      PLEASE DO NOT CONTACT THE COURT OR THE CLERK’S OFFICE CONCERNING THIS CASE.



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             EXHIBIT C

       SHORT-FORM
         NOTICE
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         If you purchased any Babyganics Products, you may be eligible to receive a
                          payment from a class action Settlement.
If you purchased any Babyganics Products, you may be eligible to receive a payment from a Class Action Settlement.
The Action alleged that Defendants KAS Direct LLC and S.C. Johnson & Son, Inc. violated state laws regarding the
marketing and sales of Babyganics Products, including the use of the terms “Babyganics,” “mineral-based,” and
“natural.” Defendants deny any and all wrongdoing of any kind whatsoever and deny any liability to Plaintiffs and
to the Settlement Class. The Court has not decided who is right. Both sides have agreed to settle the dispute and provide
an opportunity for payments and other benefits to Settlement Class Members. The case is called Mayhew, et. al v. KAS
Direct, LLC, Case No. 7:16-cv-06981-VB. The Settlement of this lawsuit will also resolve claims relating to subsets of
Babyganics Products that were raised in the following cases: Machlan v. S.C. Johnson, Inc., Case No. CGC-17-557613
(Sup. Ct. CA), later removed on April 28, 2017 to the District Court of the Northern District of California, No. 3:17-cv-
02442 (certain Babyganics pre-moistened wipes with “plant”-related labeling); Skeen v. KAS Direct, LLC, d/b/a/
Babyganics, No. 1:17-cv-04119 (S.D.N.Y.) (certain Babyganics products with “tear-free”-related labeling); and Carroll
v. S. C. Johnson & Son, Inc., Case No. 1:17-cv-5828, (N.D. Ill.) (certain Babyganics and mineral-based sunscreen
products with SPF 50+ labeling).
WHO IS INCLUDED IN THE SETTLEMENT?
All persons and entities in the United States who made retail purchases of Covered Products from September
7, 2010 to [DATE OF PRELIMINARY APPROVAL ORDER]. “Covered Products” means any Babyganics
product, regardless of product line, scent, and/or unit size, marketed and sold by the Defendants in the United States.
More information about the Babyganics products involved in the Settlement is available at the Settlement Website,
[INSERT URL], or by calling [INSERT TOLL FREE NUMBER].
WHAT DOES THE SETTLEMENT PROVIDE?
The Settlement provides for a Settlement Fund in the amount of $2,215,000.00 to pay (1) Eligible Claims submitted
by Settlement Class Members; (2) Attorneys’ Fees and Expenses; (3) Notice and Claim Administration Expenses; and
(4) any Service Awards made by the Court to Plaintiffs. Settlement Class Members who timely submit valid Claim
Forms are entitled to receive a cash payment from the Settlement. The actual amount recovered by each Settlement Class
Member will not be determined until after the Claim Period has ended and all claims have been calculated.
WHAT ARE MY RIGHTS?
Submit a Claim Form. If you wish to participate in the Settlement and be eligible to receive benefits under the Settlement,
you must fill out and submit a Claim Form by [INSERT DEADLINE DATE]. You can obtain a Claim Form by (1)
Visiting the Settlement Website, [INSERT URL], where you can file your claim online or print a Claim Form to submit
by mail; (2) Mailing a written request for a Claim Form to the Settlement Administrator: [INSERT ADDRESS]; or (3) E-
mailing the Settlement Administrator at [INSERT EMAIL ADDRESS]. If you do not timely submit a valid Claim
Form and do not exclude yourself from the Settlement, you will be bound by the Settlement but will not receive any
benefits of the Settlement.
Object to the Settlement. If you do not agree with the Settlement or any part of it, you may submit a written objection
to the Court. The deadline for submitting an objection is [INSERT DEADLINE DATE].
“Opt Out” or Exclude Yourself from the Settlement. If you don’t want to be legally bound by the Settlement, you
must exclude yourself by [INSERT DEADLINE DATE], or you won’t be able to sue, or continue to sue, Defendants
about the legal claims in this case, the other cases identified above, or any other legal claims related to the accuracy or
truthfulness of the labels used by Defendants on the Covered Products. If you exclude yourself, you cannot get money
from this Settlement. The Class Notice, available at [INSERT URL], explains how to exclude yourself or object. If
you do nothing you will be bound by the Court’s decisions.
THE COURT’S FINAL APPROVAL HEARING
The Court will hold a hearing on [INSERT DATE AND TIME] to consider whether to approve the Settlement,
Class Counsel’s request for Attorneys’ Fees and Expenses up to $733,333.33, and Service Awards for the Plaintiffs
totaling $10,500, from the Settlement Fund. You or your own lawyer may appear and speak at the hearing at your own
expense.
                                         FOR MORE INFORMATION
                     Call Toll-Free [INSERT TOLL FREE NUMBER] or visit [INSERT URL]
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            EXHIBIT D

  PRELIMINARY
APPROVAL ORDER
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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

Tanya Mayhew, Tanveer Alibhai, and Tara Festa, :
individually on behalf of themselves and all others:
similarly situated,                                :   Case No. 16 CV 6981 (VB)
                                                   :
                Plaintiffs,                        :
                                                   :     [PROPOSED] ORDER GRANTING
v.                                                 :      PRELIMINARY APPROVAL OF
                                                   :   SETTLEMENT, APPROVAL OF FORM
                                                   :   NOTICE, AND SCHEDULING OF FINAL
                                                   :         APPROVAL HEARING
KAS DIRECT, LLC and S.C. JOHNSON &
SON, INC.,

               Defendants.

        Upon consideration of Plaintiffs Tanya Mayhew, Tanveer Alibhai, and Tara Festa’s

Renewed Motion for Preliminary Approval of Settlement, Approval of Form Notice, and

Scheduling of Final Approval Hearing, the motion hearing before this Court, and the entire record

herein, the Court grants preliminary approval of the Settlement contained in the Parties’ First

Amended Joint Stipulation of Settlement (“Amended Settlement Agreement”), upon the terms and

conditions set forth in this Order. Capitalized terms and phrases in this Order shall have the same

meaning they have in the Amended Settlement Agreement. The Court makes the following

findings:

                                      FINDINGS OF FACT

        1.      Plaintiffs bring their Renewed Motion for Preliminary Approval of Settlement,

Approval of Form Notice, and Scheduling of Final Approval Hearing before the Court, with the

consent of Defendants S.C. Johnson & Son, Inc. and KAS Direct, LLC (“Defendants”).

        2.      Plaintiffs filed their Complaint against Defendant on September 7, 2016 (the

“Action”) in the United States District Court for the Southern District of New York and amended



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their Complaint, adding S.C. Johnson & Son, Inc. as a defendant, on August 7, 2017. The Action

alleges that the name “Babyganics” and the word “Natural” falsely and deceptively convey that

Defendants’ Products are organic and use natural ingredients and that Defendants’ use of the term

“mineral-based” on their sunscreen labels is false and misleading as the sunscreens contain both

mineral and chemical ingredients.      Plaintiffs further allege that Defendants’ marketing of the

Products in this manner caused Plaintiffs to pay a price premium for the Products.

       3.      The Parties conducted an extensive and thorough examination, investigation, and

evaluation of the relevant law, facts, and allegations to assess the merits of the potential claims to

determine the strength of both defenses and liability sought in the Action.

       4.      The Parties engaged in pre-mediation and confirmatory discovery, where

Defendants provided Plaintiffs with sales information and label information.

       5.      In addition, Class Counsel evaluated the various state consumer protection laws, as

well as the legal landscape, to determine the strength of the claims, the likelihood of success, and

the parameters within which courts have assessed settlements similar to the proposed Settlement.

       6.      The Parties have entered into a Settlement Agreement in which the Parties have

agreed to settle the Action, pursuant to the terms of the Amended Settlement Agreement, subject

to the approval and determination by the Court as to the fairness, reasonableness, and adequacy of

the Settlement, which, if approved, will result in dismissal of the Action with prejudice.

       7.      The Amended Settlement Agreement also resolve claims relating to subsets of

Babyganics Products that were raised in the following cases: Machlan v. S.C. Johnson, Inc., Case

No. CGC-17-557613 (Sup. Ct. CA), later removed on April 28, 2017 to the District Court of the

Northern District of California, No. 3:17-cv-02442 (certain Babyganics pre-moistened wipes with

“plant”-related labeling); Skeen v. KAS Direct, LLC, d/b/a/ Babyganics, No. 1:17-cv-04119




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(S.D.N.Y.) (certain Babyganics products with “tear-free”-related labeling); and Carroll v. S. C.

Johnson & Son, Inc., Case No. 1:17-cv-5828, (N.D. Ill.) (certain Babyganics and mineral-based

sunscreen products with SPF 50+ labeling).

       8.      The Court has reviewed the Amended Settlement Agreement, including the exhibits

attached thereto and all prior proceedings herein, and has found good cause based on the record.

       THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED as follows:

       1.      Stay of the Action. All non-settlement-related proceedings in the Action are hereby

stayed and suspended until further order of the Court.

       2.      Preliminary Class Certification for Settlement Purposes Only. Having made

the findings set forth below, the Court hereby preliminarily certifies a plaintiff class for settlement

purposes only, pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3), in accordance with

the terms of the Amended Settlement Agreement (the “Settlement Class”). The Court preliminarily

finds, based on the terms of the Settlement described in the Amended Settlement Agreement and

for settlement purposes only, that: (a) the Settlement Class is so numerous that joinder of all

members is impracticable; (b) there are issues of law and fact that are typical and common to the

Class, and that those issues predominate over individual questions; (c) a class action on behalf of

the certified Class is superior to other available means of adjudicating this dispute; and (d) as set

forth below, Plaintiffs and Class Counsel are adequate representatives of the Class. If the Court

does not grant final approval of the Settlement set forth in the Amended Settlement Agreement, or

if the Settlement set forth in the Amended Settlement Agreement is terminated in accordance with

its terms, then the Amended Settlement Agreement, and the certification of the Settlement Class

provided for herein, will be vacated and the Action shall proceed as though the Settlement Class

had never been certified, without prejudice to any party’s position on the issue of class certification




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or any other issue. Defendants retain all rights to assert that the Action may not be certified as a

class action, other than for settlement purposes.

         3.    Class Definition. The Settlement Class is defined as all persons or entities in the

United States who made retail purchases of Covered Products during the Settlement Class Period.

Specifically excluded from the Settlement Class are:        (a) Defendants’ employees, officers,

directors, agents, and representatives; (b) those who purchased Covered Products for the purpose

of re-sale; (c) federal judges who have presided over this case; and (d) all Persons who have been

properly excluded from the Settlement Class.

         4.    Class Representatives and Class Counsel. The Court appoints Jason P. Sultzer of

The Sultzer Law Group PC; Charles Joseph LaDuca and Katherine Van Dyck of Cuneo Gilbert &

LaDuca, LLP; and Melissa S. Weiner and Amy Boyle of Halunen Law as counsel for the

Settlement Class. Tanya Mayhew, Tanveer Alibhai, and Tara Festa are hereby appointed as Class

Representatives.

         5.    Preliminary Settlement Approval. The Court preliminarily approves the

Settlement set forth in the Amended Settlement Agreement as being within the range of possible

approval as fair, reasonable, and adequate, within the meaning of Rule 23 and the Class Action

Fairness Act of 2005, subject to final consideration at the Fairness Hearing provided for below.

Accordingly, the Amended Settlement Agreement is sufficient to warrant sending notice to the

Class.

         6.    Jurisdiction. The Court has subject-matter jurisdiction over the Action pursuant to

28 U.S.C. §§ 1332 and 1367 and personal jurisdiction over the Parties before it. Additionally,

venue is proper in this District pursuant to 28 U.S.C. § 1391.




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       7.      Fairness Hearing. A Fairness Hearing shall be held on ___________ ___, 2017 at

__:__ _.m. at the United States District Court for the Southern District Court of New York in the

Courtroom __ on the __ floor, to determine, among other things: (a) whether the Action should be

finally certified as a class action for settlement purposes pursuant to Rule 23(a) and (b)(3); (b)

whether the Settlement of the Action should be finally approved as fair, reasonable, and adequate

pursuant to Rule 23(e); (c) whether the Action should be dismissed with prejudice pursuant to the

terms of the Amended Settlement Agreement; (d) whether Settlement Class Members should be

bound by the release set forth in the Amended Settlement Agreement; (e) whether Settlement Class

Members and related persons should be permanently enjoined from pursuing lawsuits based on

the transactions and occurrences at issue in the Action; (f) whether the application of Plaintiffs’

Counsel for an award of Attorneys’ Fees and Expenses should be approved pursuant to Rule 23(h);

and (g) whether the application of the named Plaintiffs for Service Awards should be approved.

The submissions of the Parties in support of the Settlement, including Plaintiffs’ Counsel’s

application for Attorneys’ Fees and Expenses and Service Awards, shall be filed with the Court no

later than fourteen (14) days prior to the deadline for submission of objections and may be

supplemented up to seven (7) days prior to the Fairness Hearing.

       8.      Administration. In consultation with, and with the approval of, Defendants, Class

Counsel is hereby authorized to establish the means necessary to administer the Proposed

Settlement and implement the Claim Process, in accordance with the terms of the Amended

Settlement Agreement.

       9.      Class Notice. The proposed Class Notice, Summary Settlement Notice, the notice

methodology described in the Amended Settlement Agreement and in the Declaration of Steven

Weisbrot, Esq. on Adequacy of Notice Program (“Weisbrot Declaration”) are hereby approved.




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               a.      Pursuant to the Amended Settlement Agreement, the Court appoints

Angeion Group, LLC to be the Claims Administrator to help implement the terms of the Amended

Settlement Agreement.

               b.      No later than thirty-five (35) days after the entry of the Preliminary

Approval Order, the Claims Administrator shall cause the Notice Plan to commence as described

in the Weisbrot Declaration. Specifically, the Claims Administrator shall establish a website that

will inform Settlement Class Members of the terms of the Amended Settlement Agreement, their

rights, dates and deadlines, and related information. The website shall include materials agreed

upon by the Parties and as further ordered by this Court.

               c.      Not later than thirty-five (35) days after the entry of the Preliminary

Approval Order, the Claims Administrator shall establish a toll-free telephone number that will

provide Settlement-related information to Settlement Class Members.

               d.      The Claims Administrator shall disseminate any remaining notice, as stated

in the Amended Settlement Agreement and the Declaration of the Claims Administrator.

               e.      Not later than ten (10) calendar days before the date of the Fairness Hearing,

the Claims Administrator shall file a declaration or affidavit with the Court that: (i) includes a list

of those persons who have opted out or excluded themselves from the Settlement; and (ii) attests

to the proper implementation of the Notice Plan.

               f.      No later than ten (10) calendar days after this Agreement is filed with the

Court, Defendants shall mail or cause the items specified in 28 U.S.C. § 1715(b) to be mailed to

each State and Federal official, as specified in 28 U.S.C. § 1715(a).

       10.     Findings Concerning Notice. The Court finds that the form, content, and method

of giving notice to the Class as described in paragraph 9 of this Order: (a) will constitute the best




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practicable notice; (b) are reasonably calculated, under the circumstances, to apprise the Settlement

Class Members of the pendency of the Action, the terms of the proposed Settlement, and their

rights under the proposed Settlement, including but not limited to their rights to object to or exclude

themselves from the proposed Settlement and other rights under the terms of the Amended

Settlement Agreement; (c) are reasonable and constitute due, adequate, and sufficient notice to all

Settlement Class Members and other persons entitled to receive notice; and (d) meet all applicable

requirements of law, including but not limited to 28 U.S.C. § 1715, Rule 23(c) and (e), and the

Due Process Clause(s) of the United States Constitution. The Court further finds that all of the

notices are written in simple terminology, are readily understandable by Settlement Class

Members, and are materially consistent with the Federal Judicial Center’s illustrative class action

notices.

       11.     Exclusion from Settlement Class. Any Settlement Class Member who wishes to

be excluded from the Class may elect to opt out of the Settlement under this Agreement. Settlement

Class Members who opt out of the Settlement will not release their claims for damages that accrued

during the Class Period. Settlement Class Members wishing to opt out of the Settlement must send

to the Class Action Claims Administrator by U.S. Mail a personally signed letter including their

name and address and providing a clear statement communicating that they elect to be excluded

from the Settlement Class. Any request for exclusion for opt-out must be postmarked on or before

the Opt-Out Date specified in this Preliminary Approval Order. Any potential Settlement Class

Member who does not file a timely written request for exclusion shall be bound by all subsequent

proceedings, orders, and judgements, including, but not limited to, the release in the Amended

Settlement Agreement, even if he or she has litigation pending or subsequently initiates litigation

against Defendants relating to the claims and transactions released in this Action.




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       12.     Objections and Appearances. Any Settlement Class Member who intends to

object to the fairness of the Settlement must do so in writing no later than the Objection Date. Any

objection must be in writing, signed by the Settlement Class Member (and his or her attorney, if

individually represented), and filed with the Court, with a copy delivered to Class Counsel and

Defendants’ Counsel at the addresses set forth in the Class Notice, no later than the Objection

Date. The written objection must include: (a) a heading which refers to the Action; (b) the

objector’s name, address, telephone number and, if represented by counsel, of his/her counsel; (c)

a declaration submitted under penalty of perjury that the objector purchased Covered Products

during the period of time described in the Settlement Class definition or receipt(s) reflecting such

purchase(s); (d) a statement whether the objector intends to appear at the Final Approval Hearing,

either in person or through counsel; (e) a statement of the objection and the grounds supporting

the objection; (f) copies of any papers, briefs, or other documents upon which the objection is

based; (g) the name and case number of all objections to class action settlements made by the

objector in the past five (5) years; and (h) the objector’s signature.

       Any Settlement Class Member who files and serves a written objection, as described in the

preceding Section, may appear at the Final Approval Hearing, either in person or through counsel

hired at the Settlement Class Member’s expense, to object to any aspect of the fairness,

reasonableness, or adequacy of this Agreement, including Attorneys’ Fees and Expenses and

Service Awards. Settlement Class Members or their attorneys who intend to make an appearance

at the Final Approval Hearing must serve a notice of intention to appear on the Class Counsel

identified in the Class Notice, and to Defendants’ Counsel, and file the notice of appearance with

the Court, no later than twenty (20) days before the Final Approval Hearing, or as the Court may

otherwise direct.




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       Any Settlement Class Member who fails to comply with Section VI.A of the Agreement

shall waive and forfeit any and all rights he or she may have to appear separately and/or to object,

and shall be bound by all the terms of this Agreement and by all proceedings, orders and

judgments, including, but not limited to, the Release, in the Action.

       Class Counsel shall have the right, and Defendants shall reserve their right to respond to

any objection no later than seven (7) days before the Final Approval Hearing. The Party so

responding shall file a copy of the response with the Court and shall serve a copy, by regular mail,

hand or overnight delivery, to the objecting Settlement Class Member or to the individually-hired

attorney for the objecting Settlement Class Member; to all class Counsel; and Defendants’

Counsel.

       13.     Disclosures. The Settlement Administrator, Defendants’ Counsel, and Class

Counsel shall promptly furnish to each other copies of any and all objections or written requests

for exclusion that might come into their possession.

       14.     Termination of Settlement. This Order shall become null and void and shall not

prejudice the rights of the Parties, all of whom shall be restored to their respective positions

existing immediately before this Court entered this Order, if: (a) the Settlement is not finally

approved by the Court or does not become final, pursuant to the terms of the Amended Settlement

Agreement; (b) the Settlement is terminated in accordance with the Amended Settlement

Agreement; or (c) the Settlement does not become effective as required by the terms of the

Amended Settlement Agreement for any other reason. In such event, the Settlement and Amended

Settlement Agreement shall become null and void and be of no further force and effect, and neither

the Amended Settlement Agreement nor the Court’s orders, including this Order, relating to the

Settlement shall be used or referred to for any purpose.




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       15.     Nationwide Stay and Preliminary Injunction. Effective immediately, any actions

or proceedings pending in any state or federal court in the United States involving the labeling or

marketing of Defendants’ Products, except any matters necessary to implement, advance, or

further approval of the Amended Settlement Agreement or settlement process, are stayed pending

the final Fairness Hearing and the issuance of a final order and judgment in this Action.

       In addition, pending the final Fairness Hearing and the issuance of a final order and

judgment in this Action, all members of the Settlement Class and their legally authorized

representatives are hereby preliminarily enjoined from filing, commencing, prosecuting,

maintaining, intervening in, participating in (as class members or otherwise), or receiving any

benefits from any other lawsuit, arbitration, or administrative, regulatory, or other proceeding or

order in any jurisdiction arising out of or relating to the Products or the facts and circumstances at

issue in the Action.

       Also, pending the final Fairness Hearing and issuance of a final order and judgment in this

Action, all members of the Settlement Class and their legally authorized representatives are hereby

preliminarily enjoined from filing, commencing, prosecuting, or maintaining any other lawsuit as

a class action (including by seeking to amend a pending complaint to include class allegations, or

by seeking class certification in a pending action in any jurisdiction), on behalf of members of the

Settlement Class, if such other class action is based on or relates to Defendants’ Products.

       Under the All Writs Act, the Court finds that issuance of this nationwide stay and injunction

is necessary and appropriate in aid of the Court’s jurisdiction over this Action. The Court finds no

bond is necessary for issuance of this injunction.

       16.     Effect of Amended Settlement Agreement and Order. Plaintiffs’ Counsel, on

behalf of the Settlement Class, and Defendants entered into the Agreement solely for the purpose




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of compromising and settling disputed claims. This Order shall be of no force or effect if the

Settlement does not become final and shall not be construed or used as an admission, concession,

or declaration by or against Defendants of any fault, wrongdoing, breach, or liability. The

Amended Settlement Agreement, the documents relating to the Amended Settlement Agreement,

and this Order are not, and should not in any event be (a) construed, deemed, offered, or received

as evidence of a presumption, concession, or admission on the part of Plaintiffs, Defendants, any

member of the Settlement Class or any other person; or (b) offered or received as evidence of a

presumption, concession or admission by any person of any liability, fault, or wrongdoing, or that

the claims in the Action lack merit or that the relief requested is inappropriate, improper, or

unavailable for any purpose in any judicial or administrative proceeding, whether in law or in

equity.

          17.      Retaining Jurisdiction. This Court shall maintain continuing jurisdiction over

these settlement proceedings to assure the effectuation thereof for the benefit of the Class.

          18.      Continuance of Hearing. The Court reserves the right to adjourn or continue the

Fairness Hearing without further written notice.

          The Court sets the following schedule for the Fairness Hearing and the actions which must

precede it:

                a. Plaintiffs shall file their Motion for Final Approval of the Settlement by no later

                   than [44 days before the Fairness Hearing]                                   .

                b. Plaintiffs shall file their Motion for Attorneys’ Fees, Costs and Expenses, and

                   Motion for Incentive Awards by no later than [44 days before the Fairness Hearing]

                                                 .




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   c. Settlement Class Members must file any objections to the Settlement and the

      Motion for Attorneys’ Fees, Costs, and Expenses, and the Motion for Incentive

      Awards by no later than [30 days before the Fairness Hearing]                     .

   d. Settlement Class Members must exclude themselves, or opt-out, from the

      Settlement by no later than [30 days before the Fairness Hearing]                 .

   e. Settlement Class Members who intend to appear at the Final Fairness Hearing must

      file a Notice of Intention to Appear at the Final Fairness Hearing by no later than

      [20 days before the Fairness Hearing]                               .

   f. The Claims Administrator shall file a declaration or affidavit with the Court that

      confirms the implementation of the Notice Plan pursuant to the Preliminary

      Approval Order [10 days before the Fairness Hearing]

              .

   g. Class Counsel and Defendants’ Counsel shall have the right to respond to any

      objection no later than [7 days before the Fairness Hearing]                      .

   h. The Fairness Hearing will take place on [no less than 100 days from the date of

      Preliminary Approval]                         at __:__ _.m. at the United States

      District Court for the Southern District Court of New York in the Courtroom __ on

      the __ floor.



SO ORDERED


                                                   Honorable Vincent L. Briccetti
                                                   United States District Judge




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             EXHIBIT E

DECLARATION OF
RICHARD DUBOIS
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             EXHIBIT F

 DECLARATION OF
STEVEN WEISBROT
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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------------------------ x
TANYA MATTHEW and TANVEER ALIBHAI,                                       :   Case No. 7:16-cv-06981
Individually and on behalf of themselves and others                      :
similarly situated,                                                      :
                 Plaintiffs,                                             :
                                                                         :
v.                                                                       :
                                                                         :
KAS Direct, LLC,                                                         :
                 Defendant                                               :
------------------------------------------------------------------------ x

                         DECLARATION OF STEVEN WEISBROT, ESQ.
                           ON ADEQUACY OF NOTICE PROGRAM

STEVEN WEISBROT, ESQ., of full age, hereby declares under penalty of perjury as follows:

1.       I am a Principal at the class action notice and Settlement Administration firm Angeion

Group, LLC (“Angeion”). I am fully familiar with the facts contained herein based upon my

personal knowledge.

2.       I have been responsible in whole or in part for the design and implementation of hundreds

of class action administration plans and have taught numerous Accredited Continuing Legal

Education courses on the Ethics of Legal Notification in Class Action Settlements, using Digital

Media in Class Action Notice Programs, as well as Class Action Claims Administration, generally.

Additionally, I am the author of frequent articles on Class Action Notice, Digital Media, Class

Action Claims Administration and Notice Design in publications such as Bloomberg, BNA Class

Action Litigation Report, Law360, the ABA Class Action and Derivative Section Newsletter and

private law firm publications. I have given testimony to the Judicial Conference Committee on

Rules of Practice and Procedure on the role of direct mail, email, digital media and print

publication, in effectuating Due Process notice, and I have met with representatives of the Federal
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Judicial Center, to discuss the proposed amendments to Rule 23 and suggested educational

programs for the judiciary concerning class action notice procedures if they are adopted.

3.      Prior to joining Angeion’s executive team, I was employed as Director of Class Action

services at Kurtzman Carson Consultants (“KCC”), a nationally recognized class action notice and

settlement administrator. Prior to my notice and claims administration experience, I was employed

in private law practice and I am currently an attorney in good standing in the State of New Jersey

and the Commonwealth of Pennsylvania.

4.      My notice work comprises a wide range of class actions that includes product defect, false

advertising, employment, antitrust, tobacco, banking, firearm, insurance, and bankruptcy cases.

Likewise, I have been instrumental in infusing digital and social media, as well as big data and

advanced targeting into class action notice programs. For example, the Honorable Sarah Vance

stated in her December 31, 2014 Order in In Re: Pool Products Distribution Market Antitrust

Litigation MDL No. 2328 (E.D. La.):

To make up for the lack of individual notice to the remainder of the class, the parties propose a print and
web-based plan for publicizing notice. The Court welcomes the inclusion of web-based forms of
communication in the plan…. The Court finds that the proposed method of notice satisfies the requirements
of Rule 23(c)(2)(B) and due process.

The direct emailing of notice to those potential class members for whom Hayward and Zodiac have a valid
email address, along with publication of notice in print and on the web, is reasonably calculated to apprise
class members of the settlement.

Likewise, in In Re: Ashley Madison Customer Data Security Breach Litigation, MDL No.
2669, Case No. 4:15-MD-02669-JAR:

The Honorable John A. Ross (July 21, 2017) The Court further finds that the method of disseminating
Notice, as set forth in the Motion, the Declaration of Steven Weisbrot, Esq. On Adequacy of Notice
Program, dated July 13, 2017, and the Parties’ Stipulation—including an extensive and targeted
publication campaign composed of both consumer magazine publications in People and Sports Illustrated,
as well as serving 11,484,000 highly targeted digital banner ads to reach the prospective class members
that will deliver approximately 75.3% reach with an average frequency of 3.04 —is the best method of
notice practicable under the circumstances and satisfies all requirements provided in Rule 23(c)(2)(B) and
all Constitutional requirements including those of due process.

The Court further finds that the Notice fully satisfies Rule 23 of the Federal Rules of Civil Procedure and
the requirements of due process; provided, that the Parties, by agreement, may revise the Notice, the Claim
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Form, and other exhibits to the Stipulation, in ways that are not material or ways that are appropriate to
update those documents for purposes of accuracy.


As detailed below, courts have repeatedly recognized my work in the design of class action notice

programs:

       (a) For example, on February 24, 2017, in James Roy et al. v. Titeflex Corp. et al.,
384003V (Md. Cir. Ct. 2013), the Honorable Ronald B. Rubin, noted when granting preliminary
approval to the settlement: “What is impressive to me about this settlement is in addition to all the usual
recitation of road racing litanies is that there is going to be a) public notice of a real nature and b) about
a matter concerning not just money but public safety and then folks will have the knowledge to decide for
themselves whether to take steps to protect themselves or not. And that’s probably the best thing a
government can do is to arm their citizens with knowledge and then the citizens can make decision. To me
that is a key piece of this deal. I think the notice provisions are exquisite. (emphasis added).


       (b) Likewise, on May 12, 2016 in his Order granting preliminary approval of the settlement
in In Re Whirlpool Corp. Front Loading Washer Products Liability Litigation (MDL No. 2001)
(N.D. Ohio), The Honorable Christopher A. Boyko stated:
The Court, having reviewed the proposed Summary Notices, the proposed FAQ, the proposed Publication
Notice, the proposed Claim Form, and the proposed plan for distributing and disseminating each of them,
finds and concludes that the proposed plan for distributing and disseminating each of them will provide the
best notice practicable under the circumstances and satisfies all requirements of federal and state laws and
due process.


        (c) Sateriale, et al. v R.J. Reynolds Tobacco Co., Case No. CV 09 08394 CAS (C.D. Cal.)
Honorable Christina A. Snyder (May 3, 2016) The Court finds that the Notice provided to the Settlement
Class pursuant to the Settlement Agreement and the Preliminary Approval Order has been successful, was
the best notice practicable under the circumstances and (1) constituted notice that was reasonably
calculated, under the circumstances, to apprise members of the Settlement Class of the pendency of the
Action, their right to object to the Settlement, and their right to appear at the Final Approval Hearing; (2)
was reasonable and constituted due, adequate, and sufficient notice to all persons entitled to receive notice;
and (3) met all applicable requirements of the Federal Rules of Civil Procedure, Due Process, and the rules
of the Court.

        (d) Ferrera et al. v. Snyder’s-Lance, Inc., Case No. 0:13-cv-62496 (S.D. Fla.)
Honorable Joan A. Lenard (February 12, 2016) The Court approves, as to form and content, the Long-Form
Notice and Short- Form Publication Notice attached to the Memorandum in Support of Motion for
Preliminary Approval of Class Action Settlement as Exhibits 1 and 2 to the Stipulation of Settlement. The
Court also approves the procedure for disseminating notice of the proposed settlement to the Settlement
Class and the Claim Form, as set forth in the Notice and Media Plan attached to the Memorandum in
Support of Motion for Preliminary Approval of Class Action Settlement as Exhibits G. The Court finds that
the notice to be given constitutes the best notice practicable under the circumstances, and constitutes valid,
due, and sufficient notice to the Settlement Class in full compliance with the requirements of applicable
law, including the Due Process Clause of the United States Constitution.
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        (e) Halvorson v. Talenbin, Inc., Case No. 3:15-cv-05166-JCS

The Honorable Joseph C. Spero (July 25, 2017) The Court finds that the Notice provided for in the Order
of Preliminary Approval of Settlement has been provided to the Settlement Class, and the Notice provided
to the Settlement Class constituted the best notice practicable under the circumstances, and was in full
compliance with the notice requirements of Rule 23 of the Federal Rules of Civil Procedure, due process,
the United States Constitution, and any other applicable law. The Notice apprised the members of the
Settlement Class of the pendency of the litigation; of all material elements of the proposed settlement,
including but not limited to the relief afforded the Settlement Class under the Settlement Agreement; of the
res judicata effect on members of the Settlement Class and of their opportunity to object to, comment on,
or opt-out of, the Settlement; of the identity of Settlement Class Counsel and of information necessary to
contact Settlement Class Counsel; and of the right to appear at the Fairness Hearing. Full opportunity has
been afforded to members of the Settlement Class to participate in the Fairness Hearing. Accordingly, the
Court determines that all Final Settlement Class Members are bound by this Final Judgment in accordance
with the terms provided herein.

5.      Moreover, I have fulfilled the professional certification program offered by the Interactive

Advertising Bureau (IAB) in Digital Media Sales. The IAB certification program is accredited by

the American National Standard Institute (ANSI) and is the only globally recognized, accredited,

professional certification program created specifically for digital media sales professionals.

6.      By way of background, Angeion Group is a leading class action notice and claims

administration company formed by a team of executives that have had extensive tenures at five

other nationally recognized claims administration companies. Collectively, the management team

at Angeion has overseen more than 2,000 class action settlements and distributed over $10 billion

to class members. The executive profiles as well as the company overview are available at

http://www.angeiongroup.com/meet_the_team.htm.

7.      My staff and I will draw from our in-depth class action notice and claims administration

experience as well as our work in related fields to serve as Notice and Settlement Administrator in

this case. This declaration will describe the notice program that we suggest using in this matter,

including the considerations that informed the development of the plan.

                              SUMMARY OF NOTICE PROGRAM

8.      The notice plan in this matter consists of a state-of-the-art targeted internet banner ad notice

campaign based on objective syndicated data to reach our target audience.
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9.      The Notice Program is designed to deliver an approximate 70% reach with an average

frequency of 3.0 times each. Practically, what this means is that approximately 70% of the target

audience will see the notice advertisement on average 3 times each.

10.     The specifics of the plans, as well as the considerations and methodology that informed

their recommendation are further outlined below.

                                        CLASS DEFINITION

11.     The “Settlement Class” is defined as all persons or entities in the United States who made

retail purchases of Covered Products during the Settlement Class Period. Specifically excluded

from the Settlement Class are: (a) Defendants’ employees, officers, directors, agents, and

representatives; (b) those who purchased Covered Products for the purpose of re-sale; (c) federal

judges who have presided over this case; and (d) all Persons who have been properly excluded

from the Settlement Class. The settlement Class Period means the period beginning on (and

including) September 7, 2010 and ending on (and including) the date the Court enters the

Preliminary Approval Order.

                            MEDIA NOTICE TARGET AUDIENCE

12.     To develop the media plan for the notice program, the Settlement Class was profiled using

GfK MRI 2016 Doublebase data1 and comScore2. These syndicated data sources are used by

advertising agencies and other communications professionals to understand the socio-economic



1
  GfK MRI is a leading supplier of publication readership and product usage data for the communications
industry. GfK MRI offers complete demographic, lifestyle, product usage and exposure to all forms of
advertising media. As the leading U.S. source of multimedia audience research, GfK MRI provides
information to magazines, television and radio networks and stations, internet sites, other media, leading
national advertisers, and over 450 advertising agencies – including 90 of the top 100 in the U.S. MRI’s
national syndicated data is widely used by companies as the basis for the majority of the media and
marketing plans that are written for advertised brands in the U.S.
2
  comScore is a global Internet information provider on which leading companies and advertising agencies
rely for consumer behavior insight and Internet usage data. comScore maintains a proprietary database of
more than two million consumers who have given comScore permission to monitor their browsing and
transaction behavior, including online and offline purchasing.
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characteristics, interests and practices of a target group and aids in the proper selection of media

to reach that target. These objective data sources are instrumental in allowing the Court to review

the estimated net reach and average frequency of a particular program and is precisely the type of

“accepted methodology” that the Federal Judicial Center Checklist cautions should be used in class

action notice programs. Here, the following target audience was used to profile potential class

members in MRI to help understand their media consumption habits:

      •   Soap & Detergents for Regular Laundry Total Brands Last 6 Months (Principal Shopper) [Other]
          or
      •   Liquid Soaps/Hand Sanitizers Brands Total Users Last 6 Months [Other] or
      •   Pre-Moistened Household Wipes Total Brands Last 6 Months (Principal Shopper) [Other] or
      •   Baby Shampoo Total Brands Last 6 Months (Principal Shopper) [Other] or
      •   Baby Bath, Wash and Soap Total Brands Last 6 Months (Principal Shopper) [Other] or
      •   Hand & Body Cream, Lotion or Oil Brands Total Users Last 6 Months [Other] or
      •   Disposable Diapers/Underpants Total Brands Last 6 Months (Principal Shopper) [Other] and
      •   I often use natural or organic beauty products [Any Agree]

13.       The syndicated data also aids in understanding the socio-economic characteristics, interests

and practices of a target group which guides the proper selection of media to reach that target.

Here, the target audience has the following characteristics:


      •   Women 18-64 with an average age of 46
      •   A large percentage (56.0%) are married
      •   48.2% have a college degree
      •   53.2% live in households with total income below $75K
      •   62.4% are employed, with most working full time (46.7%)

14.       To identify the best vehicles to deliver messaging to the target audience, Angeion also

reviewed the media quintiles, which measure the degree to which an audience uses media relative

to the general population. Here, it shows our target audience spends approximately 17 hours per

week on the internet, which is above the amount of time the average user spends per week on the

internet (the average user spends 16 hours per week on the internet).
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15.       Considering this data, Angeion recommends utilizing a state-of-the-art internet banner

advertisements to reach the target audience, which will effectively generate the reach required to

notify potential members of the Settlement Class of their rights and options in the Settlement.

                                  INTERNET BANNER NOTICE

16.       To verify the audience delivery of the internet impressions for this case we utilized

ComScore. ComScore employs first and third-party data to measure the demographic data of

internet users. By utilizing the Plan Metrix Reach and Frequency calculator, we are able to

determine the estimated reach against specific audience segments. Specifically, we used the

following target definition to profile the class:

      •   Purchased Bed & Bath products online/offline in last 6 months AND
      •   Seek new ways to lead healthier life


It should be noted that this target definition is intentionally over-inclusive as it includes all Bed & Bath

product purchasers since Babyganics is not measured. Based on the target definition, the potential

audience size is estimated at 30,996,000. This target audience, based on objective syndicated data, will

allow the parties to report the reach and frequency to the court, with the confidence that the reach within

the target audience and the number of exposure opportunities complies with due process and exceeds the

Federal Judicial Center’s threshold as to reasonableness in notification programs.

17.       The Notice Program utilizes a state-of-the-art programmatic approach to purchasing

internet media advertisements to target potential members of the Settlement Class with tailored

communications. Purchasing display and mobile inventory programmatically provides the highest

reach for internet publication, allows for multiple targeting layers, and causes banner
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advertisements to be systematically shown to persons most likely to be members of the Settlement

Class.

18.      Multiple targeting layers will be implemented to help ensure delivery to the most appropriate

users, inclusive of search targeting, category contextual targeting, keyword contextual targeting,

and site retargeting. Inventory will run on desktop and mobile devices to reach the most qualified

audience. Search terms will be relevant to baby wipes, baby products, baby care products,

detergents, sanitizers, baby lotion, diapers, etc., targeting users who are currently browsing or have

recently browsed content in categories such as parenting, toddlers, baby care, organic products,

etc. which will help qualify impressions to ensure messaging is served to the most relevant

audience. A focus will be placed on brand purchase data specifically.

19.       The internet banner notice portion of the notice program will be implemented using a 4-

week desktop and mobile campaign, utilizing standard Interactive Advertising Bureau (“IAB”)

sizes (160x600, 300x250, 728x90, 300x600, 320x50 and 300x50). A 3x frequency cap will be

imposed to maximize reach. The banner notice campaign is designed to result in serving

approximately 65,092,000 impressions.

20.        To track campaign success, Angeion will implement conversion pixels throughout the case

filing website to better understand audience behavior and identify those class members who are most

likely to convert. The programmatic algorithm will change based on success and failure to generate

conversions throughout the process. Successful conversion on the Claim Submission button will be the

primary goal, driving optimizations.

21.       Also included with the digital recommendation is Lotame, a demand management platform

(DMP), as well as Integral Ad Science (IAS), an online ad verification and security

provider. Using Lotame, allows us to learn more about the online audiences we are

reaching. Through pixels attached to the creative behind the scenes, we collect data on users who
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are served impressions, who click, and who convert. Demographic profiles can be developed and

leveraged for immediate changes in targeting strategies to increase the overall performance of

digital campaigns. The insights help us to understand the type of user profile that is most valuable

to campaign success. Integrating with IAS provides another level of safety to ad campaigns. With

the threat of bot-fraud and questions around inappropriate content, IAS, the leading company in

ad verification, provides peace of mind as IAS analyzes each impression and prevents fraudulent

activity and unsafe content.

                                   PUBLICATION NOTICE


22.       In order to increase awareness of the settlement and to satisfy the notice requirements

of the California Consumer Legal Remedies Act (“CLRA”), the notice program will include four

1/4 page ads featuring the Summary Notice to be published in the California regional edition of

USA Today.

                                 RESPONSE MECHANISMS

23.    The notice program will implement the creation of a case website, where members of the

Settlement Class can view general information about this class action, review relevant Court

documents and view important dates and deadlines pertinent to the Settlement. The website will

also have a “Contact Us” page whereby members of the Settlement Class can send an email with

any additional questions to a dedicated email. Class Members shall also be able to submit Claim

Forms electronically via the Settlement Website.

24.    A toll-free hotline devoted to this case will be implemented to further apprise members of

the Settlement Class of the rights and options in the Settlement. The toll-free hotline will utilize

an interactive voice response (“IVR”) system to provide responses to frequently asked questions
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and provide valuable information regarding the Settlement. This hotline will be accessible 24 hours

a day, 7 days a week.

                                 REACH AND FREQUENCY

25.    The Notice Program is designed to deliver an approximate 70% reach with an average

frequency of 3.0 times each. The 70% does not include the USA Today publications, informational

website or toll-free hotline, which also serve to inform potential class members of the Settlement.

                                        CONCLUSION

26.    The Notice Program outlined above is an integrated notice effort incorporating a state of

the art internet banner notice utilizing multiple targeting layers specifically targeting potential

Settlement Class Members. The notice program is designed to reach 70% of the Class on average

3.0 times each.

27.    Courts systematically rely upon reach and frequency evidence in reviewing class action

notice programs for adequacy. The reach percentage and the number of exposure opportunities

here, meet or exceed those approved in other similar class actions.

28.    It is my opinion that the Notice Program is the best notice practicable under the

circumstances and is fully compliant with Rule 23 of the Federal Rules of Civil Procedure.

       I hereby declare under penalty of perjury that the foregoing is true and correct.

                                                             ______________________________
                                                             STEVEN WEISBROT
Dated: August 2, 2017
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            EXHIBIT G

   UNDERTAKING
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       WHEREAS, Halunen Law, Cuneo Gilbert & LaDuca LLP, and The Sultzer Law Group
(“Class Counsel”) desire to give an undertaking for repayment of their award of attorney fees

and costs (“Undertaking”), as is required by the Settlement Agreement entered into by the
Parties to Mayhew, et. al v. KAS Direct, LLC, Case No. 7:16-cv-06981-VB;

       NOW, THEREFORE, each of the undersigned Class Counsel, by making this

Undertaking, hereby submit their law firm to the jurisdiction of the United States District Court

for the Southern District of New York, for the purpose of enforcing the provisions of this

Undertaking. Capitalized terms used herein without definition have the meanings given to them
in the Settlement Agreement.

       Class Counsel understand and agree that any amounts received by Plaintiffs’ Counsel are

subject to repayment to Defendants in the event that the Settlement Agreement is terminated

pursuant to its terms and/or in the event that the Final Approval Order is reversed or modified on
appeal, in whole or in part. Class Counsel shall, within twenty (20) days after receiving written

notice of termination of the Settlement Agreement from any counsel or Parties, and/or within

twenty (20) days after the order reversing or modifying the Final Approval Order, in whole or in

part, becomes final, repay Defendants the full amount of the attorneys’ fees and costs paid by the
Defendants to Class Counsel.

       In the event the Final Approval Order is not reversed on appeal but the attorneys’ fees

and costs awarded by the Court are vacated or reduced on appeal, Class Counsel shall, within

twenty (20) days after the order vacating or modifying the award of attorney fees and costs

becomes final, repay to Defendants the amount of the vacated or reduced attorneys’ fees and

costs that Defendants paid to Class Counsel.

       In the event Class Counsel fail to repay Defendants any of the attorneys’ fees




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and costs and/or stipends that are owed to it pursuant to this Stipulated Undertaking, the Court

shall, upon application of Defendants and notice to Class Counsel, summarily issue orders,

including but not limited to judgments and attachment orders against Class Counsel law firms .

Class Counsel further agree to indemnify, defend, and hold harmless Defendants and their

attorneys from any and all claims and disputes of any kind relating to Class Counsel 's payment

of attorneys ' fees and cost to Class Counsel and/or to other attorneys for the Plaintiffs pursuant

to the Settlement Agreement.

        The undersigned stipulate, warrant and represent that they have both actual and apparent

authority to enter into this stipulation, agreement, and Undertaking on behalf of their law firm.

This Undertaking may be executed in one or more counterparts, each of which shall be deemed

an original but all of which together shall constitute one and the same instrument. Signatures by

facsimile shall be as effective as original signatures. The undersign     ·    e under penalty of

perjury under the laws of the State of New York that they have read

and that it is true and conect.



   Dated    /hgt1 r/        1,    )O I?          By: - -~ - ~- - - --1-- ~ ..--
                                                 Melissa W. Wolchansky, Esq.
                                                 Halunen Law
                                                 Attorneys for Plaintiffs Mayhew, Alibna,
                                                 the Se l ment Class M mbers

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                                                 K ath rin Van Dyck,       l·
                                                 Cuneo Gilbert & LaDuca, LL P
                                                 Attorneys for Plaintiffs Mayhew, Alibhai, Festa
                                                 and the Settlement Clas [embers

   Dated:    &gLlrf      0 ).0/ 7
                                                                r, Esq.
                                                          er Law Group P.C.
                                                 Attorneys for Plaintiffs Mayhew, Alibhai, Festa
                                                 and the Settlement Class Members


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